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                         IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA



CAIR FOUNDATION, INC., d/b/a
COUNCIL ON AMERICAN-ISLAMIC
RELATIONS & CAIR,

     Plaintiff,
                                                    Civil Action No: 0:21-cv-01267 (SRN/TNL)
_~
                                                    CAIR'S MEMORANDUM IN
ASMA LORI HAIDRI SAROYA a.k.a. LORI                 OPPOSITION TO DEFENDANT'S
SAROYA, ASMA SAROYA, LORI HAIDRI,                   MOTION FOR PARTIAL JUDGMENT
LORI HAIDRI-SAROYA, & LH,                           ON THE PLEADINGS

     Defendant.



         Plaintiff, CAIR Foundation, Inc. ("CAIR"), by and through its undersigned counsel,

hereby submits the following Memorandum in Opposition to Defendant Asma Lori Haidri

Saroya's ("Saroya ") Motion for Partial Judgment on the Pleadings. For the reasons stated

herein, CAIR respectfully requests that this Court deny Saroya's motion or, in the alternative,

grant CAIR leave to amend the Complaint.

I.       INTRODUCTION

         Saroya's motion misses the mark on both the facts and the law. CAIR's Complaint is

well pled. Saroya's ignores the numerous, distinct factual allegations that support CAIR's

claims, and the law on which she relies largely does not apply to CAIR's allegations. The

allegations in the Complaint establish each of the necessary elements for timely claims for

defamation, defamation per se, tortious interference, and injunctive relief Numerous acts of

defamation and tortious interference occurred after May 21, 2019. Saroya's statements

constitute implicit and explicit statements of fact, and any reasonable person reading the
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statements would assume that Saroya possessed undisclosed factual knowledge to support her

claims. If her statements have no basis in reality (which they do not), then it is because they are

falsehoods, not because they are subjective opinions. Further, Minnesota expressly allows

tortious interference claims based on defamatory statements that severed prospective business

ties and injunctive relief that enjoins a defendant from repeating defamatory speech is

constitutional. For these reasons, and based on the analysis herein, CAIR respectfully requests

that this Court deny Saroya's motion.

II.    FACTUAL SUPPORT

       CAIR's Complaint centers on a disgruntled former employee's wrongful, systematic, and

continuous attacks against her former employer and the myriad of false accusations that she has

publicly and repeatedly heaped upon anon-profit civil rights organization. As explained in

exacting detail in the Complaint, after Saroya resigned from CAIR in May 2018, she began

publishing false statements about CAIR on multiple public social media platforms and websites

using various forms of her name, initials, and pseudonyms. Complt. (Docket No. 1) at ¶¶ 11-12.

Her defamatory communications began as early as June 21, 2018, and continued through April

29, 2021. Id. at ¶¶ 57 — 157, Exhibits C — P. Her smear campaign evolved over the years; she

designed it to reach as broad an audience as possible. Id. at ¶ 69.

       First, she published disparaging remarks about CAIR on her personal public Facebook

page and the Facebook pages of several CAIR chapters, strategic partners, and donors. Id. She

also published disparaging remarks on Internet "blogs" and as "comments" to online newspaper

articles written about LAIR or quoting CAIR staff members. Id. at ¶¶ 69, 111 — 122. She

created email and social media accounts under pseudonyms, including a Gmail account titled

"Muslims Documenting Sexism," and used those accounts to send out "anonymous" defamatory
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material. Id. at ¶¶ 69, 154 — 157. She targeted her communications to CAIR's donors. Id. at

¶¶ 158 - 159. CAIR believes that Saroya has published hundreds of statements against it since

2018. Id. at ¶ 16. Because Saroya successfully waged her war on so many different fronts,

CAIR cannot possibly know the full extent of her misconduct at this point.

        To show Saroya's malicious misconduct, CAIR pleaded a variety of examples of

Saroya's defamatory statements in its Complaint. These statements occurred both before May

21, 2019 as well as after. Saroya's defamatory statements published after May 21, 2019 include,

inter alias

              In October 2019, Saroya published a statement on Facebook claiming that she
              "witnessed gender and religious discrimination, sexual harassment, retaliation, hostile
              work environment... and other serious issues at CAIR," and that LAIR has "a pattern
              of discriminating and mistreating their own employees, especially women." She
              further claimed that "when [she] resigned, they asked [her] to sign a non-
              disparagement agreement" and that when she refused, CAIR "withheld [her] pay,
              bonus and reimbursements." Finally, she claimed that "there are many people who
              have been directly harmed by CAIR" and that the "CAIR Sexism Documentation
              Project" is a group of 35 individuals, "mostly women," "who share their experiences
              of facing discrimination, and other abuses" by CAIR. Id. ¶ 103.

              In October 2019, Saroya commented on a CAIR event page claiming that CAIR
              engaged in "abuse." She continued to claim that CAIR "owe[d] [her] over $20,000 in
              pay and reimbursements, plus attorney's fees." Id. at ¶ 107, Exhibit F.

              In or around January 2020, Saroya published a statement via Facebook to a religious
              leader who was serving as the Executive Director of "As the Spirit Moves Us" in
              Portland, Oregon claiming that LAIR "has a pattern of #discriminating against and
              mistreating their own employees." She stated that "donor funds are directly going to
              pay for attorneys to suppress, silence, and intimated those who have been treated
              unjustly." She further claimed that "there are issues of," inter alia, "religious
              #discrimination, sexual #harassment, #retaliation, [and] #hostile work environment."
              Id. ¶¶ 127-130, Exhibit H.

        •     In a comment to an article published on March 3, 2020, Saroya stated that CAIR
              engaged in "sexual abuse and exploitation" and "financial abuse and
              mismanagement." Id. ¶ 122, Exhibit G.3.
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        •     In or around March 2020, Saroya accused CAIR of having "serious issues of religious
              and gender discrimination, sexual abuse and exploitation, [and] retaliation.. .." Id.
              ¶ 131, Exhibit I.

              In June 2020, Saroya published a statement on the Facebook page of JetPac (one of
              CAIR's partners) claiming that she was "almost physically assaulted by a male
              employee at LAIR National," that she, "and other women, were regularly yelled at by
              male employees at LAIR National," that she "repeatedly heard men make sexist,
              inappropriate comments about women (including other women employees," that she
              was "the only woman on the senior leadership team for over a year," and that she and
              other women were "abuse[d]." Id. ¶¶ 132-134.

        •     On October 24, 2020, Saroya, sent an email to a representative of CAI12's partner
              organization, the National Affiliate of Muslim Lawyers, claiming that she has
              "documented a pattern of discrimination and abuse inside CAIR," that "these
              incidents were brought to the attention of CAIR's leadership and National Counsel,"
              and that "over 35 former employees and board members have alleged numerous
              issues inside CAIR, including sexual harassment, abuse, and exploitation..." Id.
              ¶¶ 143-146.

        •     Saroya sent near identical communications as the ones outlines above to specific
              CAIR partners and donors using the "Muslims Documenting Sexism" Gmail amount
              on the following occasions: October 5, 2020, November 4, 2020, November 9, 2020,
              November 14, 2020, December 18, 2020, and April 29, 2021. In each of her
              communications, she asked the recipients of the message to discontinue their support
              of CAIR. Id. ¶¶ 155 — 161, Exhibits J — P.

        •     The November 9, 2020 communication was sent to multiple attorneys at Graydon
              Law, the law firm of Roula Allouch, CAIR's Board of Director Chair. Id. at ¶ 155,
              Exhibit M. Saroya intended her publication to damage Ms. Allouch's employment at
              her private law firm. Id.

Saroya published these statements intending to sever the ties between CAIR and its partners,

hoping to cripple CAIR's ability to fundraise and carry out its mission. Id. at ¶ 161. As a direct

result of her defamatory statements, CAIR has seen a decrease in funding. Id. at ~¶ 162 — 163.

        Saroya's statements are defamatory. CAIR did not owe and does not owe Saroya any

unpaid wages, bonuses, or reimbursements. Id. at ¶¶ 76, 79 - 81, 91, 102. CAIR does not

"discriminate," "harass," "mistreat," "suppress," "silence," "intimidate," "retaliate" against its

employees. Id. at ¶¶ 79 - 81, 102, 104. CAIR does not "sexually abuse," "abuse," or "assault"
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its employees. Id. at ¶¶ 88 - 89, 123, 134 - 137. CAIR does not use "donor funds" "to pay for

attorneys to suppress, silences, and intimidate" its employees. Id. ¶¶ 109 — 110. At the time

Saroya published these statements, she knew they were false or made the statements with

reckless disregard for their truth or falsity. See e. ., id. at ¶¶ 81, 89, 110, 125. Saroya has

repeatedly uttered that "over 35 former employees and board members have alleged numerous

issues inside CAIR, including sexual harassment, abuse, and exploitation," and states that LAIR

knew about the allegations and failed to investigate them. Id. at ¶¶ 148 — 153. Yet, it has not

received any complaints of discrimination, harassment, or retaliation from the 35 former

employees. Id. LAIR did not fail to investigate 35 complaints because those complaints did not

exist. Id.

        Saroya published these false statements online over and over again intending for the

allegations to be widely disseminated and repeated. Id. at ¶ 174. She sent targeted emails to

ensure that CAIR's donors would view the false allegations if her public attack failed to reach

them. Id. at ¶ 175. Saroya's statements clearly identified CAIR, and it was apparent on its face

to those who read the statements that Saroya's defamatory statements were about CAIR. Id. at

¶ 176. At the time Saroya made these allegations, she knew they were false or, in the instances

where she had no direct or indirect connection to the allegations, she acted in reckless disregard

of the truth. Id. at ¶ 177 — 178. By continuously attacking CAIR with false allegations on

different Internet fronts, Saroya acted with actual malice. Id. at ¶ 179. Saroya's false statements

harmed CAIR's reputation in the community, subjecting it to hatred and contempt, and

discouraged its partners, donors, and religious leaders from associating with and donating to

CAIR. Id. at ¶ 181 - 182.




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III.   STANDARD OF REVIEW

        Rule 12(c) of the Federal Rules of Civil Procedure governs motions for judgment on the

pleadings. Such motions are subject to the same standard as a motion to dismiss under Rule

12(b)(6). Smythe v. City of Onamia, No. 12-3149 ADM/LIB, 2014 U.S. Dist. LEXIS 115057, at

*2 (D. Minn. Aug. 19, 2014). The allegations set forth by the non-moving party must be taken

as true, and "the court will not dismiss the complaint unless it appears beyond doubt that the

plaintiff cannot prove any set of facts in support of his claim that would entitle him to relief."

Russo v. NCS Pearson, Inc., 462 F. Supp. 2d 981, 994 (D. Minn. 2006). The Court must draw

all reasonable inferences in the plaintiff's favor. Riley v. Cordis Corgi, 625 F. Supp. 2d 769, 775

(D. Minn. 2009).

       Both motions for judgment on the pleadings and motions to dismiss are viewed with

disfavor and are rarely granted. Rule 12(c) is designed to dispose of cases where material facts

are not in dispute and questions of law are all that remain. See United States v. Any & All Radio

Station Transmission Equip, 207 F.3d 458, 462 (8th Cir. 2000). A motion for judgment on the

pleadings should not be granted except "in the unusual case in which the plaintiff includes

allegations that show on the face of the complaint that there is some insuperable bar to relief."

Bauer v. Ford Motor Credit Co., Civil No. 00-389 (DSD/JGL), 2000 U.S. Dist. LEXIS 20635, at

*3-4 (D. Minn. June 27, 2000) (quoting Frey v. City of Herculaneium, 44 F.3d 667, 671 (8th Cir.

1995) (internal quotations omitted)). "[B]ecause granting a Rule 12(c) motion `summarily

extinguishes] litigation at the threshold and forecloses] the opportunity for discovery and

factual presentation,' courts must treat such motions with the 'greatest of care."' Wiley v.

Portfolio Recovery Assocs., LLC, No. 20-cv-00737 (SRN/KMM), 2021 U.S. Dist. LEXIS




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37230, at *5 (D. Minn. Mar. 1, 2021) (quoting Acosta v. Reliance Tr. Co., No. 17-CV-4540

(SRN/ECW), 2019 U.S. Dist. LEXIS 134453 (D. Minn. Aug. 9, 2019)).

IV.    LEGAL REASONING

        Saroya's arguments for dismissal fail because they are either legally flawed and/or

contradicted by the detailed factual allegations in the Complaint, which must be taken as true

when deciding the instant Motion.

       A. CAIR's Defamation and Tortious Interference Claims were Timely Filed

       Minnesota law provides for atwo-year statute of limitations. Minn. Stat.

  541.07(1) (1986). When a tortious interference claim is based on underlying defamatory

conduct, the two-year statute also applies. Carlson v. Kelly Servs., No. OS-1860 (DWF/SRN),

2006 U.S. Dist. LEXIS 107106, at *29 (D. Minn. Jan. 9, 2006) ("[A] claim of wrongful

interference with a business relationship by means of defamation is governed by the two-

year statute of limitations under Minn. Stat. § 541.07."). CAIR filed its Complaint on May 21,

2021. Thus, to satisfy the statute of limitations, it must plead defamatory and tortious conduct

that occurred after May 21, 2019. CAIR pleaded 13 separate defamatory statements that Saroya

published between October 2019 and Apri12021. Complt. ¶¶ 103, 107, 122, 127 —134, 143 —

146, 155 — 161, Exhibits F — P. Each of these publications falls within the applicable statute of

limitations. CAIR pleaded the lengthy history of Saroya's war against CAIR, which dates back

to June 2018, to show her malicious intent and the full extent of her unlawful actions. Saroya's

reliance on those defamatory statements that pre-date May 21, 2019 in support her motion for

judgment on the pleadings is misguided and ineffective because CAIR has, without question,

pleaded actionable statements within the statute of limitations. CAIR's defamation and tortious

interference claims are not time-barred, and her motion on that ground must fail.
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       B. CAIR Specifically Identified and Properly Pled Saroya's Defamatory Statements

       CAIR's defamation claims satisfy the plausibility standard of pleading under Ashcroft v.

IQbal, 556 U.S. 662 (2009) and Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) and the

heightened pleading requirements for defamation claims under Minnesota law. Under Rule

8(a)(2) of the Federal Rules of Civil Procedure, a pleading must contain "a short and plain

statement of the claim showing that the pleader is entitled to relief." Twombly, 550 U.S. at 555

(citations omitted). The primary purpose of a complaint is to put the defendant on notice of the

claims against her. Id.

       A defamation claim requires that a plaintiff show the defendant made "(a) a false and

defamatory statement about the plaintiff; (b) in an unprivileged publication to a third party; (c)

that harmed the plaintiff s reputation in the community." Unity Healthcare, Inc. v. Cty. of

Hennepin, No. 14-CV-114 (JNE/JJK), 2014 U.S. Dist. LEXIS 167803, at *26-27 (D. Minn. Dec.

2, 2014) (quoting Pope v. ESA Servs., Inc., 406 F.3d 1001, 1011 (8th Cir. 2005) (citation and

internal quotation marks omitted), abrogated on other grounds by Torgerson v. City of

Rochester, 643 F.3d 1031 (8th Cir. 2011)). If a statement is defamatory per se, meaning that it

accuses the plaintiff of committing a crime or imputes the plaintiff's business conduct, trade or

profession, then damages are presumed and the plaintiff is not required to prove or plead actual

damages. Maethner v. Someplace Safe, Inc., 929 N.W.2d 868, 875 (Minn. 2019). To survive

dismissal, the plaintiff must allege "who made the allegedly libelous statements, to whom they

were made, and where." Unity Healthcare, Inc., 2014 U.S. Dist. at *27 (quoting Pope, 406 F.3d

at 1011) (internal quotation marks omitted). Failure to plead exact defamatory statements is not

fatal to a claim, but the statements must be pleaded with enough specificity to provide notice to




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defendant of the defamatory statement he or she allegedly made. Schibursky v. IBM, 820 F.

Supp. 1169, 1181 (D. Minn. 1993).

       Saroya argues that CAIR's defamation claims (Count I and II) and its tortious

interference claim (Count III) should be dismissed because CAIR failed to specifically plead the

defamatory statements at issue and because the statements pleaded were "principally" Saroya's

opinion. Both her assertions are incorrect.

               1. LAIR sufficiently identified Saroya's defamatory allegations.

       LAIR sufficiently pleaded the defamatory statements at issue so as to put Saroya on

notice of its specific allegations against her. Although it attached and incorporated Saroya's full

publications in its Complaint, LAIR also identified the false accusations contained therein.

Saroya published substantially similar defamatory diatribes on a multitude of different occasions

to different audiences, intending to destroy CAIR's reputation to every individual and entity

possible. It would have been inefficient, if not impossible, for CAIR to repetitively plead the

same falsehoods in each publication. Instead, CAIR pleaded the following statements, which

apply to each and every publication referenced in and attached to the Complaint:

       •    "CAIR does not currently and did not owe Saroya $30,000 in unpaid wages, bonuses,
            and reimbursements." Complt. at ¶ 74.

       •    "CAIR does not use attorneys to `suppress, silence, and [intimidate]' its employees,
            nor does it engage in a pattern of discrimination, harassing, or retaliating against its
            employees or mistreating them." Id. at ¶ 80.

       •    "Saroya falsely accused leaders of CAIR-National of being `perpetrators of injustice'
            and claimed that CAIR discriminated against, `directly harmed,' and `abused' its
            employees. At the time Saroya published the above statements, including the
            accusation that CAIR `abuse[d]' its employees (a criminal act), she knew them to be
            false or made them with reckless disregard for their truth or falsity." Id. at ¶¶ 88-90.

       •    Saroya "falsely accused CAIR of discriminated against and mistreating its employees,
            and reiterate[ed] her lie about being owed $20,000." Id. at ¶ 102.



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        •   "CAIR does not engage in systemic gender discrimination, `sexual abuse and
            exploitation,' or financial abuse and mismanagement." Id. at ¶ 123.

        •   "In her publication, Saroya accused CAIR-National of discrimination, retaliation, and
            physically threatening conduct." Id. at ¶ 134. "At the time Saroya made these
            accusations, including these specific communications outlined above, she knew them
            to be false or acted with reckless disregard to their truth or falsity." Id. at ¶ 137.

        •   With respect to CAIR allegedly ignoring the complaints of thirty-five victims of
            sexual harassment, abuse, and exploitation, CAIR pleaded that "Saroya's statement
            that CAIR was `aware of a pattern of discrimination and abuse inside CAIR' and did
            nothing to investigate the allegations, was false." Id. at ¶ 153.

        •   With respect to the seven publications Saroya sent to CAIR's partners and donors (a
            Maryland mosque leader, the Pacific Northwest Family Circle, Count Every Vote
            Maryland, the Executive Committee at Graydon Law, the Florida Counsel on
            Churches, Indivisible, and the Academy of Muslim Achievement) between October
            2020 and Apri12021, which LAIR attached to its Complaint, CAIR pleaded, "[e]ach
            of these email communications, sent to the individual representatives of CAIR's
            partners, donors, and religious leaders, of which there are numerous, repeats the same
            lies as those contained in her previous public Facebook posts." Id. at ¶ 158.

In addition to pleading the specific defamatory statements at issue in the Complaint, CAIR also

pleaded that Saroya made the statements, the mode and manner in which she made the

statements, and the audience who viewed the statements. Saroya is on notice of what the alleged

defamatory statements consist of, who made them, to whom they were made, and in what forum

such that her motion on these grounds should be denied. See Unity Healthcare, Inc., 2014 U.S.

Dist. at *27.

                2. Sarova's statements implicitly and explicitly connote statements of fact.

        Saroya appears to believe that the First Amendment gives her carte blanche right to

defame. She is wrong. Pursuant to the U.S. Supreme Court, there is "no constitutional value in

false statements of fact. Neither the intentional lie nor the careless error materially advances

society's interest in `uninhibited, robust, and wide-open' debate on public issues. They belong to

that category of utterances which are no essential part of any exposition of ideas, and are of such



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slight social value as a step to truth that any benefit that may be derived from them is clearly

outweighed by the social interest in order and morality." Gertz v. Robert Welch, 418 U.S. 323,

341 (1974). Likewise, no "wholesale defamation exemption" exists for opinions because

expressions of opinion often imply false statements of fact. Milkovich v. Lorain J. Co, 497

U.S. 1, 18-19 (1990); See also In re MacDonald, 962 N.W.2d 451, 462 (Minn. 2021). If, in the

light most favorable to LAIR, Saroya's publications connote or imply provably false statements

of fact, LAIR must be allowed to proceed with its defamation claims.

       It is well-established that a publication may be defamatory on its face or it may carry a

defamatory meaning by reason of extrinsic circumstances. McKee v. Laurion, 825 N.W.2d 725,

731 (Minn. 2013). At the motion to dismiss stage, the court must determine whether an alleged

defamatory innuendo is reasonably conveyed by the language used. Id. at 731 (citing Utecht v.

Shopko Department Store, 324 N.W.2d 652, 653-654 (Minn. 1982)). The alleged defamatory

passages must be considered in the context of the entire work and the words taken as they are

commonly understood. McKee, 825 N.W.2d at 731. If the words are capable of defamatory

meaning; the finder of fact must decide whether they were so understood. Id. at 731-732.

(citing Utecht, 324 N.W.2d at 654 (Minn. 1982)).

       In determining whether a statement is fact or opinion, a court is not constrained "by the

semantic nature of the individual assertion," and must "turn instead to the totality of the

circumstances of the case to determine whether a statement may be actionable." Price v. Viking

Press, Inc., 625 F. Supp. 641, 646 (D. Minn. 1985) (quoting Oilman v. Evans, 750 F.2d 970,

1001-02 (D.C. Cir. 1984)) (internal quotations omitted). The task of separating opinion from

fact is a difficult one. Price, 625 F. Supp at 647. At this early stage of the proceedings, any

ambiguity must be viewed in favor of CAIR. See id. at 648 (denying summary judgment of
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defamation counts before discovery had been conducted "because the dividing line between fact

or opinion is somewhat blurred....[and] where the alleged defamatory statement does not clearly

fit into either category," the plaintiff should be permitted to proceed with discovery on their

claims).

        A four-part framework is utilized to distinguish fact from opinion: (1) the specificity of

the statement; (2) its verifiability; (3) the literary context; and (4) the work's public context.

Price v. Vikin~~uin, 881 F.2d 1426, 1432 (8th Cir. 1989). Ultimately, the Court must decide

"whether, when taken in context, the statement functions and would be understood as an

unqualified assertion of fact rather than as an element of an opinion." Id. (citing Janklow v.

Newsweek, Inc., 759 F. 2d 644 (8th Cir. 1985)). Specificity refers to the extent to which the

alleged defamatory statement actually recites specific events. Id. Verifiability refers to the

extent to which the statement can be proven true or false. Id. Literary context requires the Court

to examine the condition and tone of the publication as a whole (cautionary or qualifying

language may signal an opinion). Id.; see also Fagen, Inc. v. Exergy Dev. Grp. of Idaho, L.L.C.,

No. 12- 2703 (MJD/SER), 2015 U.S. Dist. LEXIS 14833, at *25-26 (D. Minn. Feb. 5, 2015)

(finding lack of preface of "in my opinion" or "my lawyers believe" to give credence to the fact

that the alleged defamatory statements were actionable statements of fact); Brodkorb v.

Minnesota, No. 12-1958 (SRN/AJB), 2013 U.S. Dist. LEXIS 19416, at *39 (D. Minn. Feb. 13,

2013) ("`Cautionary language' typically is qualified speech, such as words and phrases that serve

as disclaimers, such as `basically,' `probably,' or `not necessarily."') The fourth factor

investigates whether the statement is made in the course of political debate (statements made in

the political arena are more likely to constitute unactionable opinions). Price, 881 F.2d at 1433.

These factors do not provide abright-line distinction between assertions of fact and expressions



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of opinion. A statement of opinion or belief is still actionable as defamation if, taken in context,

"the statement may still imply a false assertion of fact." Milkovich v. Lorain Journal Co., 497

U.S. 1, 19 (1990).

       Actionable statements of fact include, inter alia, statements that an individual

"endangered a patient's safety" (F~elsta v. Zo~g Dermatology, PLC, 488 F.3d 804, 811 (8th Cir.

2007)), that a parent "failed to supervise her child" (Forte v. Waterford Green P'ship, No. O1-

1706 (DWF/AJB), 2003 U.S. Dist. LEXIS 3843, at * 16-17 (D. Minn. Mar. 4, 2003)), and that

implied that an individual "misrepresented his background" (Jadwin v. Minneapolis Star &

Tribune Co., 390 N.W.2d 437, 443 (Minn. Ct. App. 1986)). Even epithets and adjectives can

constitute defamatory statements of fact if they imply a specific type of reprehensible conduct.

See Weissman v. Sri Lanka Curry House, Inc., 469 N.W.2d 471, 473 (Minn. Ct. App. 1991)

(citing Restatement of Torts § 567 comment a; Uhlman v. Farm, Stock & Home Co., 148 N.W.

102 (1914) (describing plaintiffs as "a precious bunch of crooks" and "as straight as a rail fence

and as honest as Ananias" was libelous); Wilkes v. Shields, 64 N.W. 921 (1895) (statement that

plaintiff was "a dangerous, able and seditious agitator" implied antisocial acts and was

defamatory)); see also Anderson v. Kammeier, 262 N.W2d 366, 372 (Minn. 1977) (statements

that plaintiff "should not be trusted" and would "stab anyone in the back" were defamatory per

se). In Weissman, the Court found an employer's statement that an employee was "dishonest" to

be defamatory. 469 N.W.2d at 473.

       In Brodkorb, this Court analyzed whether a Minnesota State Senator's public statements

that the plaintiff, a former Senate employee, was trying to "extort" a payment from and engage in

"blackmail negotiations" with the Senate were defamatory such to survive a motion to,dismiss.

Brodkorb was terminated from the Senate after he became romantically involved with a State



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Senator. Brodkorb, 2013 U.S. Dist. LEXIS at *4. After his termination, Brodkorb served the

Senate with a notice of claims and issued a settlement demand of $500,000. Id. In response,

Senator Ludeman issued a press release and made additional statements to the press indicating

the Brodkorb was "extort[ing]" a payment from the Senate and engaging in "blackmail

negotiations." Id. at *4 — 5. This Court first examined whether the statements were defamatory

per se and observed that although "extortion" and "blackmail" have a specific legal meanings,

they are each also routinely used colloquially. Id. at *33 — 34. Because the statements were

made in a generalized manner immediately after Brodkorb demanded $500,000 from the Senate,

this Court found that they could not reasonably be interpreted to be accusing plaintiff of

committing the actual criminal offenses of extortion and blackmail. Id.

       Turning next to defamation, this Court analyzed the specificity and verifiability factors

outlined above. Brodkorb, 2013 U.S. Dist. LEXIS at *38 — 39. Because "extortion" and

"blackmail negotiations" lend themselves to multiple interpretations and because the context in

which Ludeman used them did not imply that Brodkorb had actually committed a criminal act,

this Court held that they lacked the specificity and verifiability required to be proven false. Id. at

*39. With respect to the literary and social contexts of the statements, this Court held that by

referring to Brodkorb's "so-called claims" and "blackmail negotiations" in the publications, it

was clear that the statements were made in the context of heated back and forth negotiations

between the parties. Id. at *39 — 40. Additionally, the larger contextual backdrop for the

statements was the political arena where speakers often engage in provocative or inflammatory

speech in the public forum. Id. at *41 — 42. For all of these reasons, this Court dismissed

Brodkorb's defamation claims. Id. at *42.




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       As this Court acknowledged in Brodkorb, although terms like "extortion" and

"blackmail" may have common meanings, Minnesota courts have consistently found statements

accusing a plaintiff of sexual misconduct to be defamatory per se. 2013 U.S. Dist. LEXIS at *28

— 29; see also Yang v. Robert Half Int'1, Inc., No. 19-CV-2669 (NEB/DTS), 2020 U.S. Dist.

LEXIS 163413, at * 14 (D. Minn. Sep. 8, 2020) ("Defamation per se includes falsely accusing the

plaintiff of committing a crime and imputing serious sexual misconduct to the subject of the

statement"); Longbehn v. Schoenrock, 727 N.W.2d 153, 159 (Minn. Ct. App. 2007); Baufield v.

Safelite Glass Corp., 831 F. Supp. 713, 717 (D. Minn. 1993); Trivedi, LLC v. Lang, No. A16-

1209, 2017 Minn. App. Unpub. LEXIS 389, at *26 (May 1, 2017) (finding statements accusing

plaintiff "of sexual misconduct with former employees and followers" to be capable of

defamatory meaning such to survive summary judgment); Molitor v. Molitor, No. A16-1434,

2017 Minn. App. Unpub. LEXIS 364, at *9 (Apr. 24, 2017) (finding statements that can

"reasonably interpreted as to convey that [plaintiff) committed sexual abuse...not protected

expressions of opinion" and, thus, actionable to support plaintiff's defamation per se claim).

Trivedi and Molitor are attached hereto as Exhibits A and B respectively. While unpublished

and not precedential, they are nonetheless persuasive in their similarity to the instant matter.

       This Court's analysis in Brodkorb and the holdings of Yang, Longbehn, Baufield,

Trivedi, and Molitor are both instructive and persuasive with respect to Saroya's defamatory

statements. Here, Saroya has published hundreds of defamatory communications related to

CAIR since her employment ended. CAIR pleaded over 20 specific statements published

between June 2018 and April 21, 2019, 13 of which occurred after May 21, 2019. As a preface

to the majority of her communications, Saroya informs her audience that she worked for CAIR-

Minnesota and CAIR for over a decade, including serving as CAIR's Chapter Development



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Director and as a member of the Board of Directors. See, sme ., Complt. at ¶ 103. She then

repeatedly emphasizes that CAIR commits "sexual harassment," "abuse," "sexual abuse," and

"sexual abuse and exploitation" and "assault." Id. at ¶¶ 103, 107, 122, 128, 131, 134, 146, and

155. She further claims that CAIR "directly harmed" 35 separate individuals, who all belong to

the same Facebook group, where they, according to Saroya, share depictions of their abuse. See,

e.~., id. at ¶ 107.

        Saroya never says that it is her "opinion" or "belief' that CAIR sexually abused, sexually

harassed, and discriminated against its employees. See, ~, Complaint. She never qualifies her

accusations with cautionary language such as "basically," "probably," or "not necessarily." Id.

She does not inform her readers that she has no basis for or independent knowledge of about

which she speaks. Id. Instead, she claims to have physically "witnessed" CAIR's alleged

mistreatment of its employees, both as a neutral observer and as a physical victim herself. Id. at

¶¶ 103, 134. She specifically claims that "was almost physically assaulted by a male employee

at CAIR National," "regularly yelled at by male employees at CAIR National," that she was the

"only woman on the senior leadership team for over a year," and that she was "abused." Id. at

¶ 134. By providing the reader with her extensive history within CAIR and stating that she

"witnessed" the aforementioned conduct or that she herself is a victim of the alleged misconduct,

no reasonable person would understand Saroya's statements to constitute a mere "subjective

view," "interpretation," "theory," "conjecture," or "surmise". Rather, the reasonable

interpretation of Saroya's statements, when taken into context as a whole, is that she has personal

knowledge of the conduct she alleges and both implicitly and explicitly claims that she possesses

objectively verifiable facts to support her claims.




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        Viewing the facts as pleaded in the light most favorable to CAIR, each of the Price

factors is satisfied. First, Saroya's statements are sufficiently precise for readers to believe that

they are reading an assertion of fact. Accusing an organization of, inter alia, sexual abuse,

sexual harassment, and physical assault, are not ambiguous statements, especially here where

Saroya claimed to have witnessed it and been subjected to it herself. Those statements are

accusations of both civil and criminal misconduct. See In re A~lication for Discipline of Peters,

428 N.W.2d 375, 379 (Minn. 1988); Minn. Stat. § 609.342, et seq. Sexual abuse and sexual

harassment do not have colloquial meanings outside their civil and criminal liability context.

Likewise, claiming to have been almost physically assaulted, yelled at, and retaliated against, are

sufficiently precise.

        Second, the defamatory statements are objectively capable of proof or disproof. Saroya

either witnessed sexual abuse, discrimination, harassment, etc. or she did not. She was either

"regularly yelled at" or she was not. Likewise, there are either 35 members of a closed Facebook

all claiming to have been sexually abused by CAIR or there are not. These statements do not

denote Saroya's subjective opinion about CAIR; they accuse LAIR of specific instances of

misconduct, which can be proven true or false.

       Third, Price instructs courts consider the full context of the statements, including any

cautionary or interrogative language found in the text. Based on the number and frequency by

which Saroya has made the accusations, Saroya's statements imply years-long rampant sexual

misconduct at CAIR. She does not say that she thinks people were harassed and abused; she

does not say that in her opinion CAIR engages in certain actions; and she does not say that she

believes certain things may have occurred. Instead, she claims to have witnessed the misconduct

herself and to have been subjected to it. Based on the context of the statements, the average



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reader would believe that Saroya was stating facts by which she has personal knowledge, not her

personal opinion based merely on conjecture.

        With respect to the fourth factor, Saroya's statements were not made in the context of a

heated political debate.

       In addition to the Price factors, Saroya's statements that she observed conduct rising to

the level of civil and criminal liability certainly implies that she has knowledge of specific

provable instances of individual misconduct that occurred to unnamed individuals and herself.

Although Saroya has never disclosed the basis for her "knowledge," either in her defamatory

publications or in her responsive pleading, the average reader would nonetheless believe, based

on the frequency and voracity at which she made these defamatory comments, that she possesses

undisclosed facts which form the basis for her remarks.

       CAIR has satisfied its pleading obligations under both federal and Minnesota law.

Accordingly, Saroya's motion to dismiss the defamation claims should be denied.

       C. Saroya's Allegations Relating to Her Unpaid Wages Are Not Privileged

       Saroya asserts that her false statements that LAIR owes her unpaid wages, bonuses, and

reimbursements are protected by an absolute litigation privilege. Litigation privilege applies to

statements made in a judicial proceeding by a party or witness. Fredin v. Miller, No. 18-cv-0466

(SRN/HB), 2018 U.S. Dist. LEXIS 209525, at * 10 (D. Minn. Oct. 17, 2018). However, it has

"no discernible application" to statements made on social media. Id. Additionally, the fact that

allegedly defamatory statements may have also been made in a judicial proceeding does not

protect them from being actionable if they are also said outside of the judicial setting. Id. at 11.

In Fredin, this Court found that statements made on Twitter and to individuals outside of the

judicial proceeding were not protected by absolute privilege. Id.



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       None of the three cases cited in Saroya's motion actually stand for the proposition that

her extrajudicial social media statements related to her wage claims are protected, a fact that can

be gleaned from even the most cursory review of the listed opinions. In Svendsen v. G4S Secure

Sols. (USA) Inc., the Court found that statements made by an employer during a union grievance

process were privileged as well as statements made by counsel in a settlement offer pre-suit. No.

16-CV-0583 (PJS/HB), 2018 U.S. Dist. LEXIS 157300, at *17 — 25 (D. Minn. Sep. 13, 2018).

In Alzheimer's Found. of Am., Inc. v. Alzheimer's Disease & Related Disorders Asss'n, the

Southern District of New York found that a party's statement advising donors of the existence of

a lawsuit was not defamatory because New York recognized the fair and accurate report of a

judicial proceedings to be privileged from liability. 796 F. Supp. 2d 458, 471 (S.D.N.Y. 2011).

       In Rav v. Hauff, a child with mental disabilities was allegedly physically assaulted by her

adopted mother and sexually assaulted by her mother's friend. No. 08-922 (MJD/JJK), 2010

U.S. Dist. LEXIS 32400, at * 1 — 5 (D. Minn. Mar. 31, 2010). Hauff was court appointed to be

the minor's guardian. Id. at *6. During the course of the guardianship, Hauff learned that the

minor's mother was being investigated for neglect and for inappropriately kissing her daughter,

conduct which was observed by multiple witnesses. Id. at *7 —13. During the course of this

investigation, Hauff, as the minor's court appointed guardian, informed the minor that her

mother had abused her and was not a good mother. Id. at *23 — 24. The mother then sued Hauff

for defamation. Id. In dismissing the mother's claim, the court found that statements made by

the guardian were protected by absolute privilege because it was "clear that the statements are

relevant to her court-appointed duties as guardian to a vulnerable adult, and to the investigation

into allegations of abuse by the mother as ordered by the state court." Id. at *26. Svendsen,

Alzheimers, and Hauff do not have any plausible applicability Saroya's defamatory statements.



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False statements related to CAIR failing to pay Saroya wages, bonuses, and reimbursements are

not privileged.

       D. Minnesota Expressly Permits Tortious Interference Claims Based on
          Defamatory Statements

        Saroya claims that Minnesota courts have recognized that a tortious interference claim

that is duplicative of a claim for defamation must be dismissed. In support of this contention,

she relies on the holding in European Roasterie, Inc. v. Dale, No. 10-53, 2010 U.S. Dist. LEXIS

43523, at * 15 (D. Minn. May 4, 2010). But just as her reliance on Svedsen, Alzheimers, and

Hauff is, at best, misplaced and, at worst, intentionally misleading, so too is her reliance on

European Roasterie. In European Roasterie, the court dismissed plaintiff's defamation claim,

finding that it was not pleaded properly. Id. at 14. After dismissing plaintiff's defamation claim,

the court then determined that plaintiff's tortious interference claim must fail as well, not

because tortious interference is subsumed in the defamation claim, but because the plaintiff

alleged defamation as the underlying tortious conduct and, if the statements were not actually

defamatory, then the tortious interference claim must fall as well. Id. at 15.

       European Roasterie, Inc. cites to and relies on the holding in Wild v. Rari~, 302 Minn.

419 (1975). The Wild court limited its holding to the question of whether wrongful interference

with business relationships by means of defamation is included in Minn. St. 541.07, the two-year

statute of limitations, or Minn. St. 541.05, the six-year statute of limitations. Wild, 302 Minn. at

443. Although Wild found that the two-year statute of limitations applied to the tortious

interference claim, it did not find that a claim for tortious interference cannot stem from

defamatory conduct, nor did it dismiss plaintiff's tortious interference claim on that ground. The

defendants in Unity Healthcare, Inc. v. County of Hennepin attempted to dismiss a tortious

interference claim on grounds that it was duplicative of a defamation claim under Wild. The


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district court declined dismissal on that ground, finding that it was "unclear whether the [Wild]

holding has any application outside statute of limitations issues." Id. In maintaining both the

defamation and the tortious interference claims, the Court concluded that tortious interference

was not subsumed into defamation in any event because the plaintiff pled that certain clients

moved from plaintiff after receiving the defamatory publications and the client's act of moving is

not defamatory. Id.

       Minnesota permits tortious interference claims based on underlying defamatory conduct.

       E. LAIR has Properly Pleaded its Tortious Interference Claim.

       To establish a claim of tortious interference with a prospective business relationship,

CAIR must prove that Saroya intentionally and improperly induced a third party not to enter into

or continue a business relationship with CAIR. Hot Stuff Foods, LLC v. Dornbach, 726 F. Supp.

2d 1038, 1043 (D. Minn. 2010) (citing United Wild Rice, Inc. v. Nelson, 313 N.W.2d 628, 633

(Minn. 1981)). To meet its notice pleading obligations under Twombly and gI bal, CAIR pleaded

the following:

        Saroya intentionally and improperly interfered with CAIR's prospective business
        relationships by using her defamatory communications to induce CAIR's partners,
        donors, and religious leaders identified above to discontinue their existing relationships
        with CAIR. Complt• at ¶ 190. Saroya used CAIR's Confidential Information to target
        her defamatory communications to individuals and organizations that Saroya knew were
        a part of CAIR's fundraising and outreach efforts. Id. at ¶ 191. In those
        communications, she specifically asked those organizations to discontinue their
        relationships with CAIR. Id. at ¶ 192. As a result of Saroya's statements, CAIR has lost
        multiple partners, donors, and religious leaders. Id. at ¶ 162. The loss of its donors has
        led to a significant decrease in its funding. Id. at ¶ 163.

Although CAIR did not identify the specific donors that have left CAIR due to Saroya's

defamatory accusations in its Complaint, CAIR nevertheless satisfies its pleading burden under

Hot Stuff Foods because it "pleaded facts indicating that [it] has been damaged by [Saroya's]

actions." 726 F. Supp~. 2d at 1044.


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       F. CAIR's Claim for Injunctive Relief is Proper.

        Saroya argues that CAIR's claim for injunctive relief should be dismissed at this stage

because the injunction requested violates Saroya's First Amendment right to free speech.

Specifically, Saroya cites to case law which supports the proposition that prior restraints on

speech are not constitutional. See Motion for Judgment on the Pleadings, p. 22 (citing Alexander

v. United States, 509 U.S. 544, 550 (1993)). The fundamental flaw in Saroya's argument is that

CAIR's claim for injunctive relief does not seek a prior restraint on speech not found to be

defamatory as a matter of law. Although, the old rule was that equity does not enjoin a libel or

slander and that the only remedy for defamation is an action for damages, under the well-

established "modern" approach, an injunction may issue where it is "narrowly tailored, based

arpoi~ a continuing course of repetitive speech, and granted only after a final adjudication on the

merits that the speech is unprotected." Auburn Police Union v. Carpenter, 8 F.3d 886, 903 (1st

Cir. 1993) (emphasis added).

       In Pittsburgh Press Co. v. Pittsburgh Comm'n on Human Relations, which Saroya cites,

the U.S. Supreme Court observed that it "has never held that all injunctions [against expression]

are impermissible." 413 U.S. 376, 390 (1973). The Court explained that "[t]he special vice of a

prior restraint is that communication will be suppressed . . .before an adequate determination

that it is unprotected by the First Amendment." Id. The injunction at issue was not an

unconstitutional prior restraint because it was based on a continuing course of repetitive conduct

and did not endanger arguably protected speech as the enjoined speech was defamatory as a

matter of law. Id. at 390-91.

       Following Pittsbur mah       , several federal and state courts have distinguished between

requests for preventive relief prior to trial and post-trial remedies to prevent repetition of



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statements judicially determined to be defamatory. Balboa Island Village Inn, Inc. v. Leinen, 156

P.3d 339 (Cal. 2007). With respect to judicially-determined defamatory statements, courts have

repeatedly concluded that, "once a judge or jury has made a final determination that the speech at

issue is defamatory, an injunction prohibiting the defendant from repeating the defamatory

speech does not constitute a prohibited prior restraint on speech." Wa ~ner Equip. Co. v. Wood,

893 F. Supp. 2d 1157, 1161 (D.N.M. 2012) (citing Lothschuetz v. Carpenter, 898 F.2d 1200 (6th

Cir. 1990) (upholding injunction enjoining statements that had been found to be false and

libelous), Balboa Island, 156 P.3d at 349 (holding that the court may issue an

injunction prohibiting a defendant from repeating statements determined at trial to be

defamatory), Advanced Training Sys., Inc. v. Caswell Equip. Co., Inc., 352 N.W.2d 1, 11 (Minn.

1984) (holding injunction limited to material found either libelous or disparaging after a full jury

trial was not ~mconstitutional and could stand), O'Brien v. Univ. Cmty. Tenants Union, Inc., 327

N.E.2d 753, 755 (Ohio 1975) ("Once speech has judicially been found libelous, if all the

requirements for injunctive relief are met, an injunction for restraint of continued publication

may be proper."), Retail Credit Co. v. Russell, 218 S.E.2d 54 (Ga. 1975) (upholding injunction

issued following jury trial in libel case that prohibited repetition of statements found to be

defamatory)). "As defamatory speech is unprotected speech, the "special vice" of a prior

restraint is non-existent where an injunction is granted only as to statements previously

adjudicated to be false." Wa ~ner Equip. Co., 893 F. Supp. 2d 1157, 1162 (D.N.M. 2012).

       In Wa ner, the defendants moved for judgment on the pleadings, seeking dismissal of

plaintiff's claim for injunctive relief restraining speech. 893 F. Supp. at 1162. In adopting the

"modern" approach, the court found that the defendants were incorrect that plaintiff's request for

permanent injunctive relief is prohibited as a matter of law. Id. at 1162. The court "express[ed]



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no view as to whether [plaintiff] ultimately will be able to establish all of the requirements

necessary for an injunction to issue, whether an injunction prohibiting [defendants] from

repeating defamatory statements ultimately could, or should be denied because an award of

damages is an adequate remedy, or whether, indeed, [defendants'] statements will be adjudicated

to be false and defamatory in the first instance." Id. Instead, the court simply rejected

defendants' challenges to the legal validity of plaintiff's request for injunctive relief, stating that

"because an injunction prohibiting a defendant from repeating a statement determined to be

defamatory does not constitute a prohibited prior restraint of speech under the First Amendment,

[plaintiff's] claim seeking injunctive relief is not prohibited as a matter of law." Id.

Accordingly, the court held that dismissal of plaintiff's injunctive relief claim pursuant to

12(b)(6) would be inappropriate. Id.

        Saroya's reliance on Sindi v. El-Moslimany, 896 F.3d 1 (1st Cir. 2018), is unavailing. In

that case, the court analyzed the constitutionality of an injunction entered into after a finding of

defamation. It specifically declined to rule on whether a federal court could permanently enjoin

republication of oral or written statements in other contexts outside of the instant matter. 896

F.3d 1, 35. It likewise took "no view of the legality of an injunction ordering the removal or

deletion of speech that has been adjudicated defamatory," such as a decree requiring the erasure

of a statement from a website after an adjudication that the statement was unprotected in the

context in which it was made. Id. (internal quotations omitted).

       Here, the court need not make a determination of whether CAIR's claim for injunctive

relief should be denied because an award of damages is an adequate remedy, or whether Saroya's

statements will ultimately be adjudicated to be false and defamatory in the first instance, or what

the scope of CAIR's injunctive relief should be if it succeeds on its defamation claims. Because



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CAIR's claim is not a prohibited prior restraint of speech as a matter of First Amendment law,

Saroya's motion with respect to this cause of action should be denied at this juncture.

       G. In the alternative, any dismissal should be without prejudice, and CAIR should
          be granted leave to amend its claims.

       Defendant requests that CAIR's defamation and defamation per se claims be dismissed

with prejudice. However, such an extreme remedy at this early stage of the litigation is not

warranted under law or fact. Rule 15(a) of the Federal Rules of Civil Procedure states that after

a responsive pleading has been filed, a party may amend its pleading with the opposing party's

written consent or by leave of court. "The court should freely give leave when justice so

requires." See, e.~., Bailev v. Bayer CropScience L.P., 563 F.3d 302, 307 (8th Cir. 2009).

"Although there is no absolute right to amend a pleading, the Eighth Circuit Court of Appeals

takes a liberal allowance of amendments." Microsource v. Eco World Grp., No. 19-CV-4016-

CJW-MAR, 2019 U.S. Dist. LEXIS 234634, at *20 (N.D. Iowa Oet. 30, 2019) (quoting Kozlov

v. Associated Wholesale Grocers, Inc., 818 F.3d 380, 394 (8th Cir. 2016) (internal quotations

omitted)). "When a motion to dismiss is granted, the usual practice is to grant leave to amend

the Complaint." Microsource, 2019 U.S. Dist. LEXIS, at *20.

       A district court should only deny a motion for leave to amend "if it is apparent from the

record that (1) the moving party has demonstrated undue delay, bad faith, or dilatory motives, (2)

the amendment would be futile, or (3) the amendment would prejudice the other party." Foman

v. Davis, 371 U.S. 178, 182 (1962)). The burden of demonstrating the existence of these factors

is on the party opposing an amendment. Beeck v. Aquaslide 'N' Dive Corp., 562 F.2d 537, 540

(8th Cir. 1977). Prejudice must be shown. Id. (citing Hanson v. Hunt Oil Co., 398 F.2d 578, 582

(8th Cir. 1968).




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       None of the Foman factors applies to the instant matter. Pursuant to this Court's

Scheduling Order, the parties have until May 1, 2022 to seek to amend the pleadings, and

discovery is far from closed. Accordingly, CAIR requests that any dismissal of Counts I, II, III,

or V be without prejudice and with leave to amend.

V. CONCLUSION

       For all the foregoing reasons, CAIR respectfully requests that this Court deny Saroya's

Motion for Partial Judgment on the Pleadings in its entirety. In the alternative, CAIR

respectfully requests that it be granted leave to amend the Complaint.


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                         IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA



LAIR FOUNDATION, INC., d/b/a
COUNCIL ON AMERICAN-ISLAMIC
RELATIONS & CAIR,

     Plaintiff,
                                                     Civil Action No.: 0:21-cv-01267 (SRN/TNL)
►~
                                                       PLAINTIFF'S WORD COMPLIANCE
ASMA LORI HAIDRI SAROYA a.k.a. LORI
                                                         CERTIFICATE (Local Rule 7.1(f))
SAROYA, ASMA SAROYA, LORI HAIDRI,
LORI HAIDRI-SAROYA, & LH,

     Defendant.



         I, Cynthia B. Morgan, certify that Plaintiff CAIR Foundation Inc.'s Memorandum in

Opposition to Defendant Lori Saroya's Motion for Partial Judgment on the Pleadings complies

with the limits of Local Rule 7.1(~ and with the type-size limit of Local Rule 7.1(h).



         I further certify that, in preparation of the above-referenced document, I used Microsoft

Word, and that this word processing program has been applied to specifically include all text,

including headings, footnotes, and quotations in the following word count. I further certify that

the above-referenced Memorandum contains 8,255 words.
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     Respectfully,


Dated: November 5, 2021           CHRISTENSEN LAW OFFICE PLLC

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                                                T~iv~dr, LLC v. Lang
                                              Court of Appeals of Minnesota

                                                     May 1, 2017, Filed

                                                          A16-1209

Reporter
2077 Minn. App. Unpub. LEXIS 389 ~; 2017 WL 1548620

Trivedi, LLC, et al., Appellants, vs. Dennis Lang,
Respondent.
                                                               Case Summary

Notice: THIS OPINION WILL BE UNPUBLISHED AND
                                                               Overview
MAY NOT BE CITED EXCEPT AS PROVIDED BY
                                                               HOLDINGS:      [1]-In   defamation    suit   brought   by
MiNNES~TA STATUTES.
                                                               alternative health practitioner and his companies against

Subsequen# His#ory: Review denied by Trrvedi LLC v.            journalist, the district court did not err in granting the

Lam,20~T Minn. LEXIS 471 Mrnn., Ju/ 98, 2(I1T                  journalist summary judgment as to his statements
                                                               claiming the practitioner and companies entities were
Prior History: ~'1] Ramsey County District Court File          shams and were involved in illegal or unethical business
No. 62-CV-14-4330.                                             practices because the respondent was a journalist, the
                                                               practitioner was alimited-purpose public figure, and the
                                                               practitioner failed to provide avidence to support a
Trivedr LLC v. Lang, 2074 Mr'nn. App. Ui~pub, LEXIS
                                                               finding of actual malice by clear and convincing
695 (Minn. Ct App., June 23, 2014)
                                                               evidence; [2]-The district court improperly granted the
Dwsposition: Affirmed in part, reversed in part, and           journalist summary judgment as to his claims that the
remanded.                                                      practitioner was guilty of sexual improprieties because
                                                               the practitioner was not a public figure for purposes of
Core Terms                                                     sexual assault, the defamatory per se standard applied,
                                                               and the genuine issue a# material fact as to whether the
appellants', public controversy, district court, actual        practitioner engaged in improper sexual behavior
malice, public figure, limited-purpose, actual-malice,         remained.
defamation, products, media, defamatory, genuine issue
of material fact, sexual, sham, business practice,             Outcnme

defamation claim, summary judgment, promotion,                 Order affirmed in part, reversed in part, and remanded.

scientific, publicly, public debate, debated, powers,
sexual misconduct, publio-figure, accusations, website,       L~xisN~xis~ Headno#es
online, scientific study, false statement
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                                                              h'N~`~~'] Defama#ion, Rublic Figures

                                                              The protection of a person's reputationa~ interest under
    Torts > ... > Defamation > Remedies > Damages
                                                              defamation law must yield to First Amendment rights

    Torts > Intentional Torts > Defamation > Elements         when a defamation defendant's statements concern a
                                                              public official; such suits require proof of actual malice.
    Torts > Intentional Torts > Defamation > Defamation       The United States Supreme Court later extended this
    Per Se                                                    First Amendment protection to statements concerning
                                                              public figures. Constitutional protection was further
    Torts > Intentional Torts > Defamation > Procedural
                                                              extended to statements concerning persons who thrust
    Matters
                                                              themselves     to   the   forefront   of particular   public
                                                              controversies and invite attention and comment. This
HN?[~'] Remedies, Damages
                                                              protection for statements concerning limited-purpose
Defamation is communication of a false statement to           public figures is justified in part because such persons
someone other than the plaintiff that tends to harm the       are thought to have greater access to the channels of
plaintiffs reputation and lower the plaintiff in the          effective communication and hence have a more
estimation of the community, where the recipient of the       realistic opportunity to counteract false statements than
statement reasonably understood the statement to refer        private individuals.
to the plaintiff. Under Minnesota common law, a
defamation plaintiff need only show that publication of
the statement was intentional; intent to defame is not an         Constitutional Law > ... > Freedom of
element.     Certain   false   statements   are   per    se       Speech > Defamation > Public Figures
defamatory, meaning that damages may be presumed
                                                                  Tarts > ... > Defama#ion > Public Figures > Actual
and are recoverable without proof of actual harm to
                                                                  Malice
reputation. Statements alleging unchastity or that one is
a sex offender are per se defamatory.                             Torts > ... > Defamation > Public Figures > Limited
                                                                  Purpose Public Figure

    Constitu#ional Law > ... > Freedom of                     HNC~'] Defamation, Public Figures
    Speech > Defamation > Public Figures
                                                              Minnesota courts have adopted the standards set by the
    Torts > ... > Defamation > Public Figures > Actual        United States Supreme Court and have required that, in
    Malice                                                    order to prevail, public officials, public figures, and
                                                              limited-purpose public figures prove that claimed
    Torts > ... > Defamation > Public Figures > Limited
                                                              defamatory statements were made with actual malice.
    Purpose Public Figure

    Torts > ... > Defamation > Public
                                                                  Civil Procedure > Appeals > Summary Judgment
   Figures > Voluntary Public Figures
                                                                  Review > Standards of Review
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    Torts > ... > Defamation > Public Figures > Judicial     A public controversy requires two elements: {1) there
    Review                                                   must be some real dispute that is being publicly
                                                             debated, and (2) it must be reasonably foreseeable that
    Torts > Intentional Torts > Defamation > Procedural
                                                             the dispute could have substantial ramifications for
    Matters
                                                             persons beyond the immediate participants. Even if a
                                                             controversy generates public in#erest, courts will not
    Torts > ... > Defamation > Public Figures > Limited
                                                             consider it a public controversy when it involves only
    Purpose Public Figure
                                                             private individuals enmeshed in personal lives or work
NN4(~'] Summary Judgment Review, Standards of                which had momentarily caught the attention of the press
Review                                                       and public, largely as illustrative of some perceived
                                                             social ill.
The appellate court reviews a district court's grant of
summary judgment de novo. The appellate court bases
its review on the undisputed facts and construes any              Governments > Legislation > Extension & Revival
disputed evidence in favor of the nonmoving party. The
appellate court reviews de novo the legal question of             Torts > Intentional Torts > Defamation

whether a party is alimited-purpose public figure. The
                                                                  Torts > ... > Defamation > Public Figures > Limited
respondent has the burden of persuasion to show that
                                                                  Purpose Public Figure
the petitioner is alimited-purpose public figure.
                                                                  Governments > Courts > Judicial Precedent

    Torts > ... > Defamation > Public Figures > Actual            Torts > ... > Defamation > Public Figures > Judicial
    Malice                                                        Review

    Torts ≥ ... > Defamation > Public Figures > Limited      HNr~;] Legislation, Extension & Revival
    Purpose Public Figure
                                                             The limited-purpose public-figure test provided by the
HN5[~'] Public Figures, Actual Malice                        Minnesota supreme court rs well-established, and it is
                                                             not the appellate court's role to modify it. The task of
A defamation plaintiff is regarded as alimited-purpose
                                                             extending existing law falls to the supreme court or the
public figure when {1) a public controversy exists, (2)
                                                             legislature, but it does not fall to the appellate court.
the plaintiff played a meaningful role in the controversy,
                                                             Under existing caselaw, a public controversy exists
and (3} the allegedly defamatory statement related to
                                                             when a person or thing is being publicly debated; there
the controversy. Alimited-purpose public-figure plaintiff
                                                             is no strict requirement of widespread reporting in the
must also prove that the allegedly defamatory statement
                                                             legacy public media of television and newspapers,
was made with actual malice.
                                                             although such reporting may be good evidence of the
                                                             existence of a public controversy. Neither is it the
                                                             appellate court's proper role to create a new category of
    Torts > Intentional Torts > Defamation
                                                             automatic public controversy where a person makes

HNC~'] Intentional Torts, Defamation                         supernatural claims. The appellate court applies the
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established standards for determining whether' a public            Torts > Intentional Torts > Defamation
controversy exists.
                                                               HN1t~1) Public Figures, Actual Malice

                                                               Corporate    plaintiffs   suing   media   defendants    for
    Torts > Intentional Torts > Defamation
                                                               defamation must show actual malice when the media
HNC~'] lntentionai Torts, Defamation                           defendant demonstrates that the allegedly defamatory
                                                               statements concern matters of legitimate public interest.
Product promotion is insufficient in itself to warrant a       This rule was created to encourage the media to probe
finding of a public controversy.                               the business world to the depth which is necessary to
                                                               permit the kind of business reporting vital to an informed
                                                               public.
    Torts > Intentional Torts > Defamation > Defenses

    Torts > Intentional Torts > Defamation > Public
                                                                   Civil Procedure > Appeals > Standards of
    Figures
                                                                   Review > De Novo Review

    Torts > ... > Defamation > Public Figures > Limited
                                                                   Constitutional Law > ... > Fundamental
    Purpose Public Figure
                                                                   Freedoms > Freedom of Speech > Free Press

HNC~'] Defamation, Defenses
                                                                   Canstitutsonal Law > Bili of Rights > Fundamental

Defamation defendants cannot create their own defense              Freedoms > Freedom of Speech

by pointing to the attention they have themselves visited
                                                               HNC 1['~') Standards of Review, De Novo Review
upon a plaintiff as evidence that the plaintiff is a public
figure. But defamation plaintiffs likewise cannot avoid        When the material facts are not in dispute, the appellate
limited-purpose public-figure status by claiming not to        court reviews the lower court's application of the law de
have wanted the attention. A plaintiff is a limited-           novo. Online journalism is equivalent to print journalism
purpose public figure if he voluntarily injects himself into   and online }ournalists are entitled to no less First
a controversy, but net if he is drawn into the                 Amendment protection than other media defendants.
controversy. In reviewing this factor, courts consider
whether participation in the controversy was voluntary,
whether the person had access fa channels of effective             Civil Procedure > Rppeals > Summary Judgment
communication to counteract false statements, and the              Review > Standards of Review
prominence of the role the person played in the public
                                                               HN1~'] Summary Judgment Review, S#andards of
controversy.
                                                               Review

                                                               Appellate courts generally review a district court's grant
    Torts > ... > Defamation > Public Figures > Actual
                                                               of summary judgment de novo to determine (1} whether
    Malice
                                                               there are any genuine issues of material fact, and (2)
                                                               whether the district court correctly applied the law.
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When deciding the first question, the appellate court          Malice
views the evidence in the light most favorable to the
                                                               Torts > Intentional Torts > Defamation > Procedural
party against whom summary judgment was granted.
                                                               Matters

                                                           HN1~~'] Public Figures, Ac#ual Malice
    Torts > ... > Defamation > Public Figures > Actual
    Malice                                                 Under the actual-malice standard, appellants must show
                                                           that respondent thought their abilities or products to be
    Torts > ... > Defamation > Public Figures > Limited
                                                           genuine and disseminated statements to the contrary.
    Purpose Public Figure

    Torts > ... > Defamation > Public
                                                               Torts > Intentional Torts > Defamation > Elements
    Figures > Summary Judgment

                                                           HN15['~'] Defamation, Elements
    Torts > ... > Defamation > Pub(ic Figures > Clear &
    Convincing Evidence
                                                           For purposes of a defamation claim, recklessness may
                                                           be found where there are obvious reasons to doubt the
HN1~j] Public Figures, Ac#uai Malice
                                                           veracity of the informant or the accuracy of his reports.
In defamation cases involving limited-purpose public
figures, the question on a motion for summary judgment
is whether the evidence of record could reasonably             Torts > Intentional Torts > Defamation > Elements

support a factual finding of actual malice by clear and
                                                           t~'l1/~~'~] Defamation, Elements
convincing evidence. Actual malice is a term of art; it
means that the defendant acted with knowledge that the     To establish a       common-law defamation claim in
publication was false or with reckless disregard of        Minnesota, a plaintiff must show that {1) the defendant
whether it was false or not. A statement may have bean     communicated the defamatory statement to someone
made with actual malice if it is fabricated by the         other than the plaintiff, {2} the statement is false, (3) the
defendant, is the product of his imagination, is based     statement tends to harm the plaintiffs reputation, and
wholly on an unverified anonymous telephone call or if     (4} the recipient of the false statement reasonably
the publisher's allegations are so inherently improbable   understands it to refer to a specific individual.
that only a reckless man would have put them in
circulation. It can also exist if the defendants in fact
entertained serious doubts as to the truth of the              Torts > Intentional Torts > Defamation > Defamation
publication. If the plaintiff presents evidence that the       Per Se
utterer knew the falsity of his statements when
published, such bad faith in publishing is relevant        N/V1~~`] Defamation, Defamation Per Se

evidence of malice.
                                                           Claims that a person is a criminal or unchaste, and
                                                           especially that a person is a sex offender, if false, are
                                                           defamatory per se.
   Torts > ... > Defamation > Pubfic Figures > Actual
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                                                                 actual-malice standard in dismissing their defamation
                                                                 clas~~is. Alternatively, appellants argue that they raised
     Torts > ... > Defamation > Public Figures > Actual
                                                                 genuine issues of material fact regarding whether
     Malice
                                                                 respondent made defamatory statements with actual

    Torts > Intentional Torts > Defamation > Procedural          malice. We a rm in part, reverse in part, and remand.2
     Matters

HN1£~"~] Public Figures, Actual Malice                           ~~~T~~'~


If a respondent is a media defendant, the petitioners            Trivedi claims to have the power to "promote health and
                                                                 welE-being" through "energy transmissions" that "have
must also demonstrate that respondent acted with
actual malice to prevail on a defamation claim.                  the potential to transform living arganrsms and non-
                                                                 living materials." Trivedi calls this process the "Trivedi
Counsel: For Appellants: Nathan J. Knoernschild,                 Effect." Appellants have monetized these claimed
Chestnut Cambronne PA, Minneapolis, Minnesota                    abilities [*2]   by selling products and admission to
                                                                 seminars related to the Trivedi Effect. Appellants have
For Respondent: Mark R. Anfinson, Minneapolis,
                                                                 created acommission-based network of promoters for
Minnesota.
                                                                 their products, including radio-show hosts, authors, and
Judges: Considered and decided by Ross, Presiding                alternative-medicine experts. Appellants also promote

Judge; Rndenberg, Judge; and Toussaint, Judge.                   their businesses through a website containing hundreds
                                                                 of video and written testimonials. Appellants claim that,
C3pinion by; RODENBERG                                           through these efforts, the Trivedi Effect has "benefited
                                                                 many people." By all accounts, appellants have made
Opinion                                                          millions of dollars from these concerted efforts.

                                                                 Respondent identifies claims by Trivedi that he has
                                                                 performed 70,000 miracles around the world, and has
UNPUBLISHED OPINION
                                                                 as many as 200,000 patrons. Appellants claim to have

RC?DENBERG, Judge                                                sought validation of the Trivedi Effect through the

Appellants     Mahendra       Trivedi     (Trivedi),   Trivedi
Foundation, and Trivedi Companies            appeal from a
                                                                 2 This is the second appeal involving these parties. In an
grant of summary judgment dismissing with prejudice
                                                                 earlier appeal, we affirmed the district courts order vacating a
their claims against respondent Dennis Lang. Appellants          foreign judgment obtained by appellants against respondent.
argue that the district court improperly applied the             Trrvec~i LLC v, Lang, No. AI3-2087, 2D1~f Mrnn. App. Unpub.
                                                                 LEXIS 675. 20f4 WL 2807981, at '1 (Minn. App. June 23,
                                                                 2014). The district court in that earlier case determined that a
Retired judge of the Minnesota Court of Appeals, serving by
                                                                 default judgment obtained by appellants in Arizona was not
appointment pursuant to Minn. Const. art. VI, § 10.
                                                                 entitled to full faith and credit because the Arizona court
 We refer to Trivedi LLC, Trivedi Master Wellness LLC, and       lacked personal jurisdiction over respondent. 2094 Mmn. App.
Trivedi Products LLC collectively as "Trivedi Companies."        Unpttb. LEXlS 615, jWLJat ~2.
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scientific process and claim some degree of validation           Trivedi is a "sham," [*4] the Trivedi Effect has no
by over 4,000 scientific studies at major research               scientific basis, and appellants are marketing this
institutions throughout the world. They claim that the           "sham" for financial gain; (2) claims that appellants
Trivedi Effect has been mentioned in more than a dozen           engaged in unlawful business practices; and {3) claims
leading internatsonal, peer-reviewed scientific journals.        that   Trivedi       is   guilty   of   sexual     improprieties.`'
The senior general manager at the Trivedi Science                Respondent moved for- summary judgment, arguing that
Research Laboratory claims that the Trivedi Effect has           Trivedi   is     a    limited-purpose     public     figure,   that
been    validated      by   17Q    peer-reviewed    research     respondent is a journalist, and that appellants had failed
publications.                                                    to identify a genuine issue of material fact regarding
                                                                 whether respondent's statements on PurQi.com were
Respondent learned of Trivedi's [*3)           extraordinary
                                                                 made with actual malice. The district court granted
claims and began researching those claims with an eye
                                                                 summary judgment dismissing appellants' defamation
toward writing an article about appellants. During his
                                                                 claims. In a very thorough memorandum appended #o
research, respondent found an Internet blog or message
                                                                 its order granting summary judgment, the district court
board called PurQi.com. He claims that PurQi.com was
                                                                 dismissed appellants' civil conspiracy and tortious
created by one of appellants' former employees as a
                                                                 interference claims because they were based solely on
forum for discussing alternative medicine and that the
                                                                 the defamation claims.
forum developed into an online meeting place for
persons interested in and concerned about appellants'            This appeal followed.
operations. Respondent posted his contact snformation
on PurQi.com and was contacted by multiple people
                                                                 DECISION
claiming to be familiar with appellants, their businesses,
and their claims concerning fhe Trivedi Effect. After            Appellants agree on appeal that their claims against
communicating with these people, respondent began                respondent for civil conspiracy and tortious interference
making posts critical of appellants on PurQi.com.                with contract and business expectancy depend entirely
                                                                 on proof of actionable defamation by respondent. We
Appellants learned of respondent's writings critical of
                                                                 therefore limit our analysis to the viability of appellants'
them   and      sued    respondent foi- defamation,      civil
                                                                 defamation claims.
conspiracy, and tortious interference with contract and
business expectancy. All of appellants' claims are based
on 50 allegedly defamatory statements identified in their
original complaint. For purposes of this appeal, we
consider   these       general    categories of    statements
                                                                 categories of identified statements are of no separate
identified by the district court:3 (1) statements that           analytical significance.

                                                                 4 Appellants' complaint details a variety of statements allegedly
3 Appellants characterized the statements as falling into six    published by respondent concerning Trivedi's improper sexual
categories, three of which were "general accusations of          behavior. It is unnecessary to our analysis that we detail all of
misbehavior and/or causing harm," "miscellaneous statements      the allegedly defamatory statements. Appellants allege that
not in any other specific category," and "statements that Lang   respondent accused Trivedi of "rape," sexual coercion and
did not make." For purposes of this appeal, these three          harassment of employees, "sexual assault," and "molestation."
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                                                                299T, 3009, 41L. Ed 2d 789 (7974). This protection for
Constitutional Dimensions of Defama#ion ['5]                    statements concerning "limited-purpose public figures"
                                                                is justified in part because such persons are thought io
HN~[1] Defamation is communication of a false
                                                                have "greater access to the channels of effective
statement to someone other than the plaintiff that tends
                                                                communication and hence have a more realistic
to harm the plaintiff's reputation and lower the plaintiff in
                                                                opportunity to counteract false statements [than] private
the estimation of the community, where the recipient of
                                                                individuals." Chafoulias v. Peterson, 668 N. W.2d 642,
the statement reasonably understood the statement to
                                                                649 (Minn. 2003) (citing Gertz. 418 U. S. at 344, 94 S.
refer to the plaintiff. McKee v. Laurion, 825 N. W.2d 725,
                                                                Ct. at 30C39j.
729-30 (Minn. 2093). Under Minnesota common law, a
defamation plaintifF need only show that publication of         HNC1']      Minnesota    courts   have    adopted    these
the statement was intentional; intent to defame is not an       standards and have required that, in order to prevail,
element. Jac~wii~ v. Mir~f~eapolrs Star ~ Ti/f~t~r1P Cv., 367 public officials, public figures, and limited-purpose public
N. W.2d 476 487 (Minn. 1985). Certain false statements          figures prove that claimed defamatory statements were
are per se defamatory, meaning that damages may be              made with actual malice. Id. at 648-49.
presumed and are recoverable without proof of actual
harm to reputation. Longbehn v. Scf7aenrack, 727
N IN.2d 753, 158 96Q (Minn. App. 2(Jd7J. Statements
alleging unchastity or that one is a sex offender are per
se defamatory. Id. ~t 158-59.                                   Limited-Purpose Public-Figure Detenminatian

fn the landmark case of New York Times Co. v. Su/If'van,        The district court determined that Trivedi is a limited-
376 U, S. 254, 84 S. Gt 71p, 17 L. Ed Zd 686 (1964),            purpase public figure with respec# to all of respondent's
the United States Supreme Court held that NN~fi] the            statements. Appellants disagree with the district court's
protection of a person's repu₹ation~l interest under            limited-purpose public-figure determination, and argue
defamation law must yield to First Amendment rights             that the district court erred in applying the actual-malice
when a defamation defendants statements concern a               standard.
public official; such suits require proof of "actual malice."
                                                                tItU4[~] UVe review a district court's grant of summary
37~ U.S. of 273-75, 279280, 84 S. Ct. at 72223, 726,
                                                                judgment de novo. Mattson Rrdge, LLC v. Clear Rock
see Britton v. Koep, 47D N. W.Zd. 578, 5207 (Mrnn. 9991)
                                                                Title, LLP. 824 N. W.2d 622, 627 (Minn. 201Z~. "We base
(discussing the rule created by New York Times). The
                                                                our review on the undisputed facts and construe any
United States Supreme Court later extended this First
                                                                disputed evidence in favor of [*7] the nonmoving party."
Amendment protection to statements concerning "public
                                                                5cheffler v. City a~Anoka, 89D N.W.2d 43T, 449, 2077
figures." Curtrs Publq Co. v. Butfs, 388 U.S. 13D, 155,
                                                                WL 474401, at *4 (Mrnn. App. Feb. 6, 2017). We review
&T S. Cl: 1975, 1991, 18 L. Ed. 2d 1X94 (79671. In Gertz
                                                                de novo the legal question of whether a party is a
v. Robert Welch, Inc., the Supreme Court further
                                                                limited-purpose public figure. Chafou/ias, 668 N. W.2d at
extended constitutional [*6] protection to statements
                                                                649-50. Respondent has the burden of persuasion to
concerning persons who "thrust themselves to the
                                                                show that Trivedi is a limited-purpose public figure.
forefront of particular public controversies" and "invite
                                                                ✓adwin, 367 N. W.2d at 481. Here, the undisputed facts
attention and comment." 478 U.S. 323. 3~5. 94 S. Ct.
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in the record resolve the issue of Trivedi's limited-          partners. Appellants argue that respondent failed to
purpose public-figure status. See Chafou/ias, 668              show a public controversy because he did not show
N.W.Zd at 654 (concluding that there was no genuine            widespread media attention devoted to appellants and
issue of material fact concerning plaintiff's status as a      their claims. Concerning the district court's second line
limited-purpose public figure).                                of reasoning, appellants argue that no binding authority
                                                               supports the district court's reasoning that some of their
HNSj~] A defamation plaintiff is regarded as a limited-
                                                               claims [*9] may create a public controversy by their
purpose public figure when (1) a public controversy
                                                               very nature.
exists, (2) the plaintiff played a meaningful role in the
controversy, and (3) the allegedly defamatory statement        HN~°~`] "A public controversy requires two elements:
related to the controversy. /d., (citing Gertz, 418 U.5. at (1) there must be some real dispute that is being
352, 94 S. Ct at 3t1~.~. A limited-purpose public-figure publicly debated; and (2) it must be reasonably
plaintiff must also prove that the allegedly defamatory foreseeable that the dispute could have substantial
statement was made with actual malice. 1d. at 648-49.          ramifications   for   persons   beyond    the   immediate
                                                               participants." ld. at 652. Even if a controversy generates
                                                               public interest, courts will not consider it a public
A, ~ public controversy exists concerning the Trivedi
                                                               controversy when it involves only "private individuals
Effect and appellants' claims and business activities
                                                               enmeshed in personal lives or work which had
regarding and p~omo~ng the Trivedi Effect.
                                                               momentarily caught the attention of the press and
The district court concluded that a!I of respondents           public, largely as illustrative of some perceived social
statements concerned a "public controversy," relying on        ill." Jadwin, 36T N.W.2d at 485 (distilling the holdings in
two separate lines of reasoning. First, the district court     Hc~tchrnson v. Proxmire, 443 U.S. 111, 135, 99 S. Ct.
reasoned that a public controversy [*8] existed because        2675, 2688, 67 L. Ed. 2d 4>1(7979)).
of the widespread nature of appellants' claims, including
                                                               Both parties invite us to ga beyond existing case law
both the number of people appellants claim have been
                                                               and create new legal tests for determining when a public
benefitted from the Trrvedi Effect and appellants' claims
                                                               controversy exists in cases of Internet publication.
that the Trivedi Effect has been given credibility by
                                                               Appellants ask us to require proof of widespread print or
widely-disseminated scientific journals and studies.
                                                               broadcast media attention in order to find that a dispute
Second, the district court reasoned that appellants'
                                                               or question is being publicly debated. Respondent asks
exceptional claims that Trivedi is "Jesus-like or Einstein-
                                                               us to endorse the district court's reasoning that some
like are, by their nature, controversial claims likely to be
                                                               statements can create a public controversy by their very
challenged or refuted;" it therefore concluded that the
                                                               nature.
mere making of such exceptional-ability claims creates
a public controversy.
                                                                HN?[t ] The limited-purpose public-figure test provided
                                                               .....................
Concerning the district court's first line of reasoning, the   by the Minnesota Supreme Court in Chafoulias is well-

widespread nature of appellants' claims, appellants            established, [*10] and it is not our role to modify it. See

argue that they are not well-known, their website              Tereaulf v. Pa/n~er,_4>3 N.W.2d 283, 286~Minn. App

receives minimal Internet traffic, and they have to            1987) ("[T]he task of extending existing law falls to the

explain their work to potential clients and business           supreme court or the legislature, but ii does not fall to
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this court."), ieviewdei~ied(Minn. Dec. 18, 1987}. Under                submitted a~davits proclaiming the attention their
existing caselaw, a public controversy exists when a                    products have received in the scientific community,
person or thing is being publicly debated; there is no                  being the subject of more than 4,000 scientific studies at
strict requirement of widespread reporting in the legacy                major research institutions throughout the world, with
public media of television and newspapers, although                     results published in more than 17Q peer-reviewed
such reporting may be good evidence of the existence                    research    publications,         including     over     a     dozen
of a public controversy. See Chafoulias, 668 N. W.Zd at                 publications in "leading international, peer-reviewed
646-47 (noting that the controversy was reported by                     scientific journals." Appellants also claim to have
local television stations and newspapers). Neither is it                performed 70,000 miracles around the world and have
our proper role to create a new category of "automatic                  as many as 2Q0,000 patrons.6 Appellants claim to have
public controversy" where a person makes supernatural                   a website showing hundreds of testimonials from people
claims. See Time, /nc. v. Frreslane, 4~''4 (I. S. x'48, 454,            who have benefitted from their work. Appellants have a
96 S. CL 958, 965, 4T L. Ed 2d 154 (9976 (rejecting                     network of media personalities who promote their
the theory that a statement can au#omatically become a                  products. HN~?~] Product promotion is insufficient in
public controversy for defamation purposes by drawing                   itself to warrant a finding of a public controversy. See
general or public interest). We apply existing law to the               ✓adwin, 367 N. W.~d at 478-T9, 485 (holding that a
appealed-from summary judgment.5 We apply the                           plaintiff was not a public figure, despite that he sent out
established standards for determining whether a public                  13,000 prospectuses, placed ads in newspapers, and
controversy exists.                                                     issued [*12]   press releases #o over 30 Minnesota
                                                                        newspapers and magazines}. But the record here
                                                                        establishes much more than product promotion. If
1. ;t# publicly debated dwspu#e axis#s concerning some,
                                                                        appellants' claims of thousands of scientific studies
but not all of respondent's statements.
                                                                        regarding the Trivedi Effect are true, then a whii-Iwind of
                                                                        public debate is already established. And, true or noi,
i. A public controversy exists surrounding the Trivedi                  the resulting Internet discussion of the accuracy of those
Effect and appellants' business [*11] practices.                        claims amounts to a real dispute that is being publicly
                                                                        debated. Either is sufficient as a matter of law to
We first consider whether respondent's statements
                                                                        establish      a       publicly     discussed          controversy.
concern a real dispute that was publicly debated.
                                                                        Respondent's complained-of statements concerning the
Chafou/ias, 668 N. W.2d a~ 652. The record establishes
                                                                        Trivedi Effect     and      appellants'       business       practices
widespread          discussion   of      Trivedi's      claims    of
                                                                        concerning and promoting the Trivedi Effect were part of
extraordinary powers both online and more broadly in
                                                                        that public debate.
the    scientific     community.      Appellants        themselves


                                                                        6 At oral argument, appellants sought to walk back these
5 We   recognize      that   measuring    the   likes    of   "public   claims as mere "puffery." Whether appellants really meant
controversy," "media defendant," and "limited-purpose public            what they said is not the issue. The question is whether there
figure" by legal standards developed before the widespread              was a public controversy. Appellants made these claims and
availability of the Internet is in some respects anachronistic.         made them widely. Others, including respondent, were
But this appeal can be resolved by reference to existing law.           debating the claims.
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                                                                       to transmit energy to others, and advertises throughout
ii. The public controversy does not extend to Trivedi's                the world his willingness to transmit some of his
sexual conduct.                                                        awesome power in exchange for money. The public
                                                                       controversy concerns whether [*14] the Trivedi Effect
Having      concluded     that    respondent's       statements
                                                                       has any basis in fact, and the marketing and business
concerning the Trivedi Effect, questioning it, and
                                                                       practices of appellants in promoting and monetizing the
questioning appellants' sale and promotion of products
                                                                       Trivedi Effect. That former employees questioned the
and services, constitute a publicly debated controversy,
                                                                       legal and ethscal propriety of Trivedi's sexual conduct is
we next consider whether that public debate extended
                                                                       insufficient to make that subject one of public debate. It
to Trivedi's alleged sexual improprieties.
                                                                       cannot be that every Internet discussion or dispute
We conclude that respondent's statements concerning                    amounts to a public controversy. Respondent has not
that subject are unlike the Trivedi-Effect claims. The                 demonstrated that his statements concerning Trivedi's
alleged scientific studies [*13] discussed above are not               sexual propensities and conduct amount to a publicly
contained in the record on appeal. But we presume                      debated dispute.$ Therefore, respondent's statements
that, if the studies and publications exist, they concern              concerning sexual matters are not part of the public
Trivedi's claimed miraculous powers, and na# his sexual                controversy.
behavior. Respondent notes that the PurQi.com websiie
contained discussion of Trivedi's sexual conduct. But
                                                                       2. Respondent's statements concerning the "sham'"
there is no evidence of record that appellants generated
                                                                       nature of the Trivedi Effect and appellants' business
or encouraged public debate concerning Trivedi's sexual
                                                                       practices ~n+ere subjects on which there were reasonably
propensities. Respondent has produced no information
                                                                       foreseeable ramifications beyond the immediate
concerning how widely the PurQi.com website is used,
                                                                       participants.
or whether it is widely accessed by individuals outside of
the small group of appellants' former employees. Nor                   We next consider whether it is reasonably foreseeable
does the record reveal any active efforts by appellants                that the public debate concerning the Trivedi Effect and
to engage in public promotion or discussion of Trivedi's               appellants' business practices could have ramifications
sexual conduct.                                                        beyond the immediate participants. Chafoulias, 668
                                                                       N. W.2d at 652.
Although the record reveals some evidence of a claim of
Trivedi's    celibacy,     appellants'      essential         claims   If appellants' claims are true, the Trivedi Effect will
concerning Trivedi and the Trivedi Effect seem not to be               undoubtedly spread and revolutionize the agriculture
based on moral superiority or essential goodness. To                   and health-sciences industries.          Ifi appellants' ["15]
the contrary, Trivedi claims to possess awesome power                  claims are untrue and appellants are collecting millions


~Trivedi's affidavit of   March 3,       2075,   identified    three
publications in which the "beneficial effects of the Trivedi           8 The record reveals no criminal charges or civil claims arising
Companies' services and products" have been demonstrated.              from Trivedi's claimed sexual misconduct. Trivedi's March 3,
The studies or articles themselves are not included in ₹he             2015 affidavit denies the existence of any "criminal charges for
record. We have not, for that reason, consulted the studies            sexual abuse . . .against me." No evidence to the conkrary
purportedly describing these "beneficial effects."                     exis#s in the record.
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of dollars based on false claims, public debate will                      653 (quotation omitted). But defamation                    plaintiffs
undoubtedly increase. The debate regarding appellants'                    likewise cannot avoid limited-purpose public-figure
claims, practices, and products clearly has reasonably                    siatus by clasming not to have wanted the attention. /d.
foreseeable      ramifications          beyond     the     immediate      A plaintiff is a limited-purpose public figure if he
participants.                                                             voluntarily injects himself into a controversy, but not if
                                                                          he is drawn into the controversy. Id. In reviewing this
Even if respondent's statements concerning Trivedi's
                                                                          factor, courts consider whether participation in the
alleged sexual misconduct with former employees or
                                                                          controversy was voluntary, whether the person had
clients were to be considered part of a public dialogue,
                                                                          "access to channels of effective communication to
those    statements        do     not     have     similarly      broad
                                                                          counteract false statements," and the prominence of the
ramifications.     While        respondent's       accusations       of
                                                                          role the person played in the public controversy. /d.
Trivedi's sexual misconduct are serious and troubling,
there is no public con#roversy extending to them. See                     The        record     demonstrates        beyond     question    that
Jadwin, 367 N, W.2d at 485-86 {holding that an                            appellants injected themselves into the controversy
individual's solicitation of media attention to his business              concerning the Trivedi [*17J Effect and their promotion
enterprises did not make him a public figure); see also                   of    it    long     before    respondent     became      involved.
Trme, fnc., 424 U. S. at 454, 96 S. Ct. at 965 (holding                   Respondent did not create that public controversy.
tha# the divorce of a famous socialite was not the type of                Appellan₹s' claims concerning the Trivedi Effect were
public   controversy       contemplated          by      Gertz.    And    voluntary and widespread. Appellants have actively
whataver controversy exists concerning these matters                      parkicipated in this controversy by creating a foundation
affects primarily those persons immediately involved in                   to support scientific research that tests the efficacy of
the conduct.                                                              Trivedi's energy transmissions, paying radio-show hosts
                                                                          and authors to promote their products, and creating a
                                                                          website       with     hundreds     of    purported    testimonials
B. Appellants placed #hemselves in the public
                                                                          regarding #heir products.9 Appellants are voluntary and
controversy.
                                                                          prominent participants in this public controversy.
The district court found that "there is no doubt that
[appellants]     intentionally      and     deliberately       placed
                                                                          C. There is a relationship between some of respondents
themselves into the epicenter ~*16] of public debate by
                                                                          statements and the identified public controversy.
affirmatively making the claims to a global audience and
seeking out thousands of scientific studies to support                    Our final          inquiry    considers    whether    there     is   a
those contentions." Appellants argue that, even if there                  relationship between the public controversy and the
is a public controversy, it was one created by                            statements made by respondent. Id. at 657.
respondent, and he is not entitled to claim protection
under the actual-malice standard.
                                                                          9 The March 3, 2015 affidavit of the "CEO of Trivedi Global,
HN~-~] "[D]efamation defendants cannot create their
                                                                          Inc." identifies numerous "affiliates" and "consultants" who
own defense by pointing to the attention they have
                                                                          were paid large sums of money—and who, in turn, generated
themselves visited upon a plaintiff as evidence that the                  substantial profits for appellants—relating to promotion of the
plaintiff is a public figure." Chafoulias, 668 N.W.2d at                  Trivedi Effect.
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As discussed above, the public controversy is more                 properly     reviewed   under   common-law     defamation
limited than that identified by the district court. Trivedi's      standards.
claims of extraordinary powers and widespread publicity
about appellants' products are part of a                  public
controversy.      Respondent's          statements    regarding
Trivedi's powers, and the products and business
practices of all of appellants, are closely [~18J related to       Respondent is a "Media Defendant"
that public controversy. Respondent's statements that
                                                                   As an alternative basis for dismissing the claims of the
appellants are "shams" and chat their claims are untrue
                                                                   corporate appellants, the district court found that
(and similar words critiquing the validity of the Trivedi
                                                                   respondent is a journalist and is therefore entitled to the
Effect) are clearly related to the controversy concerning
                                                                   protection of the actual-malice standard with respect to
appellants' products. Trivedi is a public figure for the
                                                                   his statements about the Trivedi Companies. Appellants
limited purpose of those statements. Respondent's
                                                                   argue that respondent is simply a person posting
statements that appellants have engaged in unlawful
                                                                   statements an an online forum and is not a "media
business practices, including questionable financial
                                                                   defendant" entitled to the heightened actual-malice
transactions, visa misuse, questionable employment
                                                                   standard.
and bank transactions, IRS violations, green-card
violations, and violations of not-for-profit legal status,         H1V~l~['~'] Corporate plaintiffs suing media defendants
are all closely related to the products that appellants sell       for defamation must show actual malice when the media
and the claims they make. These statements are closely             defendant demnnsirates that the allegedly defamatory
related to the promotion of the Trivedi Effect. Therefore,         statements concern matters of legitimate public interest.
the   district    court     property    subjected    appellants'   Jadwin, 367 N.t~1!Zdat487-88..This rule was created to
defamation claims against respondent for statements in             "encourage [*20] the media to probe the business world
these two categories to the actual-malice standard                 to the depth which is necessary to permit the kind of
applicable to statements made about limited-purpose                business reporting vital to an informed public." /d. at
public figures.                                                    488.

Respondent's statements concerning Trivedi's alleged               Respondent's statements about the claims and business
sexual misconduct and improprieties are not related to             practices of Trivedi Companies and Trivedi Foundation
the   controversy         surrounding    Trivedc's   claims   of   are of the so►-t protected by Jadwin. Respondent
miraculous abilities and appellants' [i`19]           products.    identifies himself as a free-lance journalist who has
Accusations of sexual assault and                other sexual      published seven articles. Appellants have submitted no
improprieties are materially different than accusations            evidence to the contrary. Accordingly, the record
that appellants are charlatans. These statements                   contains no factual dispute. See Jn re Collier, 726
concern matters beyond those in which appellants have              N.W.2d 799, StJ3 Minn.               HN1 i' l "When the
                                                                                            2007 t._......._._.-
                                                                                      _..___._.__...._1
willingly participated in a public forum. Trivedi is not a         material facts are not in dispute, we review the lower
public figure for the purposes of those statements                 court's application of the law de novo."). Respondent
concerning his sexual conduct, and appellants' legal               researched appellants' claims and operations. He
claims regarding this category of statements are                   corresponded with appellants' past employees and with
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others   who have studied and are interested in                   material fact, and (2) whether the district court correctly
appellants'   work. While respondent published his                applied the law." Rocftester City Li~~es, Co. v. City of
statements online, rather than in a traditional media             Rochester: 863 N. i~l!2d 655, 661 jMrnn. 2015). When
format, we are satisfied that online journalism is                deciding the first question, we "view the evidence in the
equivalent to print journalism and that online journalists        light most favorable to the party against whom summary
are entitled to no less Frtst Amendment protection than           judgment was granted." ---
                                                                                         McKee, 825__N.
                                                                                                     __ W.2d at 729.
other media defendants.10 Respondents posts on
                                                                  t~N9~fij In defamation cases involving limited-purpose
PurQi.com regarding appellants' products, business
                                                                  public figures, the question on a motion for summary
practices, and illegal activities are of legitimate concern
                                                                  judgment is whether the evidence of record could
to the public. The district count [*21J properly applied
                                                                  reasonably support [*22] a factual finding of actual
the actual-malice standard to the claims of Trivedi
                                                                  malice by clear and convincing evidence. dFol
Companies and Trivedi Foundation.
                                                                  WCCO 7"elevrsror~, lnc., 449 N. W.Zd 497, 5D3 (N9inn.
                                                                  App. 7989), review denied (Minn. Feb. 9, 1990). "'Actual
IV                                                                malice' is a term of art; it means that the defendant
                                                                  acted with knowledge that the publication was false or
                                                                  with reckless disregard of whether it was false or not."
Questions of Material Fact Remain Concerning Some of
                                                                  Chafoulias, 668 N. W.2d at 654 (quotation omitted}. A
Respondent's Statements
                                                                  statement "may have been made with actual malice if it
The district court applied the actual-malice standard to          is fabricated by the defendant, is the product of his
all of appellants' claims and determined that appellants          imagination,         is based wholly on an unverified
failed to identify a genuine issue of material fact               anonymous      telephone   call   or    if   the   publisher's
concerning actual malice. It therefore dismissed all of           allegations are so inherently improbable that only a
appellants' claims. Appellants argue that, even if we find        reckless man would have put them in circulation." Id It
that the district court correctly applied the actual-malice       can also exist if "the defendants in fact entertained
standard to some or all of the statements, the record             serious doubts as to the truth of the publication."
reveals genuine issues of material fact concerning                Jadwin, 36~' N. W.2d of 488 (quotation omitted). "[I]f the
whether respondent acted with actual malice.                      plaintiff presents evidence that the utterer knew the
                                                                  falsity of his statements when published, such bad faith
HN1.cj'1''] Appellate courts generally "review a district         in publishing is relevant evidence of malice" Ba/~r v.
court's grant of summary judgment de                 novo to      Boise Cascade Corp., 766 N. W.2d 9 ~0, 922 (Mrr~~~.
determine (1) whether there ara any genuine issues of             2DC1~-

                                                                  As   discussed,    respondent's        claimed     defamatory
                                                                  statements fall into three categories: (1) statements
'° In fact, the prominence and influence of purely online media
                                                                  claiming   appellants   are   "shams,"       (2)   statements
outlets such as Breikbart News, Drudge Report, Qaily Kos, and
                                                                  claiming appellants are involved in illegal or unethical
The Huffington Post demonstrate the current importance and
influence of online media. No authority is advanced supporting
                                                                  business practices, and (3} statements claiming that

the notion that first Amendr77ent protection only applies when    Trivedi engaged in improper [*23J sexual behavior. We
ink and paper are involved.                                       have determined that the actual-malice standard applies
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to the first two categories, but that the third category            disseminated statements to the contrary. Appellants
must be analyzed under common-law defamation                        have not identified a genuine issue of material fact
standards. Finally, because respondent is a media                   concerning actual malice. The district court did not err in
defendant,      we        analyze     respondent's    statements    grantsng respondent's motion for summary judgment
regarding Trivedi Companies and Trivedi Foundation                  concerning these statements.
under the actual-malice standard.

                                                                    B. No genuine issue of material fact exists concerning
A. No genuine issue of material fact exists coneeming               respondent's statements regarding illegal business
respondent's statements claiming that appellants are                activities.
"shams."
                                                                    Appellants concede that respondent has a source for all
Appellants argue that respondent's statements that                  of his claims regarding the statements that appellants
appellants are "shams," and similar statements, were                were    engaged     in   illegal    or    une#hical     business
made     with   actual      malice.    During     his deposition,   activities. [*25~ Appellants argue only that respondent
respondent stated "I don't know. . . . [I]t's possible that         did not properly verify the accuracy of all of those
Mr. Trivedi believes that he has this ability." Appellants          claims, and that respondent had personal doubts about
argue that a person cannot be a "sham" who believes                 the veracity of one source. Specifically, appellants posit
what is said, and therefore these claims were made with             that respondent's source for these claims included a
actual malice, ar at leas₹ there is a fact question                 convicted felon who stole from a previous employer, and
concerning respondents actual malice. Respondent                    that respondent did not believe the source, citing emails
argues that appellants either know that Trivedi does not            in which respondent told this source that he lacked proof
have the powers he claims, or a₹ Isast know that their              and that he needed more evidence of the claims.
claims of these powers having been scientifically
                                                                    Appellants are correct that HN1~#] "recklessness may
validated are not accurate.
                                                                    be found where ₹here are obvious reasons to doubt the
Calling a thing a "sham" indicates thai the thing is not            veraciiy of the informant or the accuracy of his reports."
what [*24] it purports to be. See The American Heritage             Haste-Hanks Commc'ns, Inc. v. Connaughtan, 49 ~ U: S.
Dictrona~y of the English Language 1599 (4th ed. 2000)              fi57, 688, 709 S. Ct. 2678, 2686, 905 L. Ecl. 2d 562
(defining "sham" as "[sjomething false ar empty that is             ~3~989~ (quotation omitted). Here, the record establishes
purported to be genuine"). The record lacks clear and               that respondent relied on more than this one source to
convincing evidence that respondent claimed the Trivedi             support his claims concerning appellants' business
Effect to be a sham when he thought it to be genuine, or            activities.   Respondent     identifies      multiple   sources
when he thought that appellan#s' claims concerning it               supporting his illegal-business-activity claims, including
were accurate. ff the record reveals anything cancerning            documents      he   received       through    a   Freeclor~~   of
respondent's mental state regarding his claims, it is that          lnformatron Act request, statements from a past chief
he does not believe that the Trivedi Effect is what i#              executive officer of the Trivedi Companies, and a New
purports to be. NN14['1°) Under the actual-malice                   York attorney. F2espondent also relied on documentary
standard, appellants must show that respondent thought              evidence, including a visa application. Viewing the
their   abilities    or    products     to   be    genuine   and    evidence in the light most favorable to appellants, [*26]
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r'espondent's doubt of one informant's reliability is        summary-judgment motion. We therefore reverse that
insufficient to create a material fact issue concerning      part of the     district court's summary adjudication
actual malice. The district court did not err in granting    pertaining to allegations of Trivedi's improper sexual
summary judgment concerning these statements.                behavior, and remand those claims to the district court
                                                             for further proceedings.

C. Material fact issues remain concerning respondent's
statements regarding sexual misconduct.                      D. No genuine issue of material fact exists concerning
                                                             statements about Trivedi Companies made by
In their complaint, appellants alleged that respondents
                                                             respondent as a media defendant.
statements on PurQi.com accusing Trivedi of sexual
misconduct with former employees and followers are           Because fi'N~~#] respondent is a media defendant,
defamatory. As discussed above, Trivedi is not a public      Trivedi Companies and Trivedi Foundation must also for
figure far the purpose of accusations of sexual assault.     that reason demonstrate that respondent acted with
Therefore, actual malice need not be proved regarding        actual malice to prevail on a defamation claim. Jac/wrn,
this category of defamation claims.                          367 N.W.Zd at 487. For the reasons discussed above in
                                                             Parts IV.A. and IV.B., Trivedi Companies and Trivedi
t~N>bj?~ To establish acommon-law defiamation claim
                                                             Foundation have not presented evidence that x`28]
in Minnesota, a plaintiff must show that (1} the
                                                             respondent acted with actual malice when he claimed
defendant communicated the defamatory s#atement to
                                                             that they are "shams" and that they engage in illegal
"someone other than the plaintiff," (2) "the statement is
                                                             business practices. The district court properly granted
false," {3} "the statement tends to harm the plaintiff's
                                                             summary judgment concerning the claims of Trivedi
reputation," and (4} "the recipient of the false statement
                                                             Companies and Trivedi Foundation.
reasonably understands it to refer to a specific
individual." McKee, 825 N. W.2d a1 729-30 (quotations
omitted).                                                    V.


As noted, H/V~,7~?] claims that a person is a criminal or
                                                             Conclusion
unchaste, and especially that a person is a sex offender,
if false, are defamatory per [''27] se. Larrgbehn, 727 The district court properly applied the actual-malice
N W.Zd at 158-59. The ac#ual-malice standard does not standard to respondent's statements regarding
apply to this class of respondent's claims, and the          appellants' claims of Trivedi's extraordinary powers, the
statements, if false, are defamatory per se. The genuine     efficacy of their products, and allegedly illegal activities
issue of material fact remains: whether Trivedi engaged      related to appellants' businesses. It also properly
in the improper sexual behavior alleged by respondent.       applied the actual-malice standard to the claims of
If true, the statements are not defamatory.                  Trivedi Companies and Trivedi Foundation. The record
                                                             reveals no genuine issue of material fact regarding
Whether appeCfants     will   be   able to    prove their
                                                             actual malice on respondent's part in making those
defamation claim regarding these statements remains to
                                                             statements.     Concerning      those     statements     by
be seen. For present purposes, appellants have
                                                             respondent accusing Trivedi of sexual misconduct,
produced sufficient evidence to defeat respondent's
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however, appellant Trivedi is not a limited-purpose
public figure, and he need not prove actual malice as an
element of his defamation claims arising from this
category of statements. We therefore reverse the district
court's dismissal of Trivedi's defamation claims (as an
individual} regarding those statements and remand to
district court for further proceedings consistent ['`~9j
with this opinion.

Affir►ned in part, reversed 9n part, and remanded.



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                          EXHIBIT B
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                                            Court of Appeals of Minnesota

                                                   April 24, 2017, Filed

                                                        A16-1434

Reporter
2017 Minn. App. Unpub. LEXIS 364 "; 2017 WL 1436083
                                                              could reasonably convey the implication the father may
Mark Molitor, Appellant, vs. Stephanie Molitor,
                                                              have abused his child and were capable of a
Respondent.
                                                              defamatory meaning and genuine issues of material fact
Notice: THIS OPINION WILL BE UNPUBLISHED AND                  existed as to the truth or falsity of the mother's
MAY NOT BE CITED EXCEPT AS PROVIDED BY                        statements and whether they conveyed a defamatory
MINNESOTA STATUTES.                                            meaning; [2]-Remand was appropriate because the
                                                              district court did nat rule an whether the statements
Prior History: [*1] Dakota County Dsstrict Court File No      were made upon a proper occasion, from a proper
7 9HA-CV-15-3213.                                             motive, and based on reasonable cause, thereby
                                                              entitling the mother to qualified privilege for her
Disposition: Reversed and remanded.
                                                              statements, or on whether the mother acted with actual
                                                               malice.
Cori Terms
                                                              outcome
district court, qualified privilege, defamatory, defamatory
                                                              Judgment reversed, matter remanded.
meaning, sexual abuse, defamation, summary
judgment, genuine issue of material fact, conveying,
                                                              LexisNexisO Headnotes
actual malice, defamation action, false statement,
falsity, argues, defeat


Cass Summary
                                                                   Civil Procedure > ... > Summary

Over~riew                                                          Judgment > Entitlement as Matter of Law > Genuine

HOLDINGS: [1]-The district court's summary judgment                Disputes

order in favor of a mother in defamation suit filed by a
                                                                   Civil Procedure > Appeals > Summary Judgment
father regarding the mother's statements made to a
                                                                   Review > Standards of Review
physician that she believed the parties' child may have
been sexually abused while in the father's care was           HNC~']       Entitlement as Matter of Law, Genuine
reversed, because the mother made statements that             Disputes
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Summary judgment is proper if the pleadings, answers           statement is defamatory depends on how ordinary
to interrogatories, depositions, and admissions on file,       people would interpret its language in light of the
together with the affidavits submitted, demonstrate that       circumstances. A publication may either be defamatory
there is no genuine issue of material fact and that either     an its face or carry a defamatory meaning only by
party is entitled to a judgment as a matter of law. Minn.      reason of extrinsic circumstances. Context is critical to
R. Civ. P. 56. d3. The appellate court reviews the district    meaning because a false statement that is defamatory
court's grant of summary judgment de nova to                   on its face may not be defamatory when read in context,
determine whether any genuine issues of ma#erial fact          and a statement that is not defamatory on its face may,
exist and whether the district court erred in its              in fact, be defamatory when read in context.
application of the law. The appellate court examines the
evidence in the light most favorable to the party against
whom summary judgment was granted.                                 Civil Procedure > Appeals > Standards of
                                                                   Review > De Novo Review

                                                                   Torts > Intentional Torts > Defamation
     Torts > ... > Defamation > Remedies > Damages

                                                                   Torts > Intentional Torts > Defamation > Procedural
     Torts > Intentional Torts > Defama#ion > Elements
                                                                   Matters
     Torts > Intentional Torts > Defamation > Defamation
     Per Se                                                    HN4["~"] Standards of Review, De Novo Review

                                                               Whether a statement rs capable of conveying a
HN,~~'') Remedies, Damages
                                                               defamatory meaning presents a question of law, which
Under Minnesota law, a statement is actionable as              the appellate cour₹ reviews de novo. If words are
defamation if it is false, was communicated to a third         capable of a defamatory meaning, a jury then must
party, and tended to harm the plaintifiPs reputation or to     decide whether they were actually defamatory.
lower that person in the estimat►an of the community. A
false statement that a person has committed a crime or
sexual misconduct is defamatory per se. If a statement             Torts > Intentional Torts > Defamation
is defamatory per se, damages are presumed and may
                                                                   Torts > Intentional Torts > Defamation > Procedural
be recovered without proof of actual harm to the
                                                                   Matters
plaintiff's reputation.

                                                               HN5['~'] In#entional Torts, Defamation

     Torts > Intentional Torts > Defamation > Elements         Courts must interpret the defamatory-meaning element
                                                               of a defamation action in light of the context surrounding
HN,~~] Defamation, Elements
                                                               the alleged defamatory statements. Defamation by
                                                               implication is a theory, which need not be specifically
To   be    actionable     in   defamation,   a   defendant's
                                                               pleaded.
statements must be false statements of fact that are
capable of conveying a defamatory meaning. Whether a
               CASE 0:21-cv-01267-SRN-TNL Doc. 59 Filed 11/05/21 Page 50 of 57
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    Torts > Intentional Torts > Defamation                        the party against whom summary judgment was
                                                                  granted.
    Torts > ... > Defamation > Defienses > Fair
    Comment & Opinion
                                                                       Torts > Intentional Torts > Defamation > Elements
HMb~~'] Intentional Tots, Defamation
                                                                       Torts > ... > Defenses > Privileges > Qualified
Generally, only statements of fact that can be proven
                                                                       Privileges
true or false are actionable as defamatory. If a
statement cannot be reasonably interpreted as stating             HNC~'] Defamation, Elements
facts and cannot be proven true or false, it qualifies as a
statement of pure opinion. Thus, calling someone a "real          Even if a plaintiff has sufficiently alleged material factual
tool" amounts to a statement of opinion, which cannot             issues on the elements of defamation, a defamation
be the basis for a defamation claim. In contrast, a               action may be defeated on the ground that the
statement that implies the existence of a certain kind of         defendant is entitled to a qualified privilege for his or her

reprehensible conduct, such as that a person is                   remarks.
"dishonest," is actionable in defamation.

                                                                       Torts > Intentional Torts > Defamation > Procedural

    Torts > Intentional Torts > Defamation > Elements                  Mat#ers


    Torts > Intentional Torts > Defamation > Procedural                Torts > ... > Defenses > Privileges > Qualified
    Matters                                                            Privileges


HNt~~] Defamation, Elements                                       K/V>l~'~"] Defamation, Procedural Matters


The plain#iff in a defamation action must show that the           The policy behind the assertion of privileges in

allegedly defamatory statement is false. A statement is           defamation actions recognizes that the end to be gained
false if it is substantially inaccurate; if a statement is true   by    permitting   defamatory     statements    in     certain

in substance, minor inaccuracies of detail or expression          circumstances outweighs the harm that may be done to

are immaterial. Asa general rule, in a defamation                 another's reputation. A qualified privilege applies when a

action, the ₹ruth or falsity of a statement presents a            court determines that statements made in certain
question for the jury to resolve.                                 contexts should be encouraged, despite a risk that the
                                                                  s₹atements might be defamatory. To be protected by a
                                                                  qualified privilege, the statement must be made upon a
    Civil Procedure > Appeals > Summary Judgment                  proper occasion, from a proper motive, and must be
    Review                                                        based upon reasonable or probable cause. Thus,
                                                                  appellate courts have held that a qualified privilege
NlV~~"J Appeals, Summary Judgment Review                          applied to reports of child abuse made to a psychologist,
                                                                  and to a physician's notations regarding concerns of
At the summary-judgment stage, the appellate court
                                                                  child abuse by a parent. Whether a qualified privilege
must review the evidence in the light most favorable to
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applies presents a question of law for the court             Opinion by: JESSON


                                                             ••     •
    Civil Procedure > Appeals > Remands

    Civil Procedure > Appeals > Summary Judgment
    Review

                                                             JESSC3N, Judge
h'N11['~'] Appeals, Remands

                                                             Appellant Mark Molitor challenges the district court's
Remand to the district court to address an additional
                                                             grant of summary judgment in favor of respondent
issue may be appropriate when the district court erred
                                                             Stephanie Molitor, now known as Stephanie Saji, in this
by granting summary judgment on a different ground.
                                                             defamation action, which is based on Saji's statements
                                                             to a physician regarding her concern that the parties'
                                                             child may have been sexually abused while in Molitor's
    Torts > Intentional Torts > Defamation > Procedural
                                                             care. Because genuine issues of material fact exist on
    Matters
                                                             whether Saji's statements were false and conveyed a
    Torts > ... > Defenses > Privileges > Qualified          defamatory meaning, and because the distric# court
    Privileges                                               failed to address a defense of qualified privilege and
                                                             whether actual malice exists to defeat such a privilege,
HN1~~`] Defama#ion, Procedural Matters
                                                             we reverse and remand far fiurther proceedings.

Minnesota common law defines actual malice as made
from ill will and improper motives, or causelessiy and       F~#CTS
wantonly for the purpose of injuring the plaintiff.
                                                             Molitor and Saji were married in 2008, and their
Whether a qualified privilege has been defeated through
                                                             daughter was born in 2012. The parties separated in
abuse, meaning that the defendant has acted with
                                                             November 2013. About a week after the separation,
actual malice, generally presents a question of fact for
                                                             when [*2] the child was staying with Molitor, he brought
the jury, but it may be determined at summary judgment
                                                             her to a well-child checkup. The child's physician
if the record is insufficient to create a material factual
                                                             reported that she was in good health.
issue.

                                                             The next day, Molitor turned the child over to Saji in a
Counsel: For Appellant: Zorislav R. Leyderman, The
                                                             parenting exchange. According to Saji, the child was
Law Office of Zorislav R. Leyderman, Minneapolis,
                                                             saying that her "butt hurt" and had a black stool. Saji
Minnesota.
                                                             performed an Internet search for these symptoms,
For Respondent: Roger H. Gross, Marissa K. Linden,           which indicated that they could be related to sexual
Gislason & Hunter LLP, Minneapolis, Minnesota.               abuse. She called a sexual abuse hotline, reported the
                                                             symptoms, and was advised to take the child to the
Judges: Considered and decided by Worke, Presiding
                                                             emergency room.
Judge; Halbrooks, Judge; and Jesson, Judge.
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At Fairview Ridges Hospital, Dr. Lucas Mailander            information ["4] that Saji provided to the physician was
examined the child. Mailander noted that Saji brought       factually correct and truthful, so that the statements
the child in with "concerns of sexual abuse." Saji told     were not actionable. The district court therefore did not
Mailander that the child had stayed at her father's home    reach Saji's additional claim that the statements were
for the last four nights, even though she was supposed      protected by a qualified privilege. The district court also
to stay for only one night, and that when Saji picked her   declined to consider Molitor's additional argument that
up, she appeared unkempt and would not look at her          the statements constituted defamation by implication,
mother. Saji also reported that the child had a black and   noting that this claim had not been alleged in the
tarry stool, was pulling at her backside and seemed         complaint, and it would no# address a cause of action
uncomfortable, and was reluctant to wear a diaper. Saji     not pleaded and of which Saji lacked notice. This appeal
s#aced that the child appeared more clingy than usual,      follows.
but she believed that this was because they had never
been separated before [*3] for more than 48 hours. Saji
                                                            DECISION
told the doctor that Molitor had sexually abused her
during the marriage and had once hit the child on the       H/V?[t] Summary judgment rs proper if the pleadings,
nose "like a dog," but had not shown any other abusive      answers to interrogatorses, depositions, and admissions
behavior toward the child.                                  on   file,   together   with   the   affidavits   submitted,
                                                            demonstrate that there is no genuine issue of material
Mailander performed an exam, which showed normal
                                                            fact and that either party is entitled to a judgment as a
findings and no signs of sexual abuse. He contacted the
                                                            matter of law. Minn. R, Civ. P. 56.03. This court reviews
Midwest Children's Resource Center, which did not
                                                            the district court's grant of summary judgment de novo
recommend an immediate evaluation, but offered to
                                                            to determine whether any genuine issues of material
follow up at Saji's option. The child was then
                                                            fact exist and whether the district court erred in its
discharged.
                                                            application of the law. Bc~l v. Cc~/e, 569 N. W.2r~ 743, 946
The next month, Saji filed a petition to dissolve the       Mrrrn. ~997~. This court examines the evidence in the
parties' marriage. In September 2015, nine months after     light most favorable to the party against whom summary
the dissolution was final, Molitor commenced a district     judgment was granted. Fabia v. Bel/omo, 504 N. tN.zd
court action, claiming that Saji had made false             T58, 767 (Minn. 9993).
statements that he had sexually abused the child, which
                                                            Molitor argues that the district court [*5]        erred by
constituted defamation per se because they were
                                                            granting summary judgment in favor of Saji on his claim
circulated to third parties and falsely accused him of
                                                            of defamation.     N/V~?) Under Minnesota law, a
committing a crime.
                                                            statement is actionable as defamation if it is false, was
Saji moved for summary judgment, which Moli#or              communicated to a third party, and tended to harm the
opposed. Rfter a hearing, the district court granted        plaintiffs reputation or to lower that person in the
summary judgment in favor of Saji, stating that the         estimation of the community. Stuempges v. Parke,
record lacked any evidence to support the assertion that    Davis ~ Co.; 297 N. W.2d 252, 255 (Minn. 1980) (citing
she had made false statements that Molitor had sexually     Restatement Second of Tots              558-59 1977         A
abused the child. The district court determined that the    false statement that a person has committed a crime or
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sexual misconduct is defamatory per se. Anderson v                      language in light of the circumstances. Gadach v.
Kail~rrlerer;      262 N. W.2c! 366,          372 (Mlnn.     ~977~;     Bentvn Cnty. Co—Op, Assn, 236 Mi~li7, 507, 570, 53
Harrrn~ersten v. Reili~, 262 _Mrnr7. 20Ci, 206,                   715   N. W.2d 230, 232 (99521; see Ulecht v. Shopko 1~ep't
N.W.2d 259, 264 (1962). If a statement is defamatory                    Store, 324 N. W.2d 652, 653 (Minn. 1982) (noting that a
per se, damages are presumed and may be recovered                       publicatson may eifher be defamatory on its face or
without proof of actual harm to the plaintiff's reputation.             "carry a defamatory meaning only by reason of extrinsic
Sch/ren~an v. Gannett lVfinr~. Broad., Inc., 637 N.W.2d                 circumstances"}. "Context is critical to meaning because
297 3DT (Minn. App. 200~J, review denied (Minn. Mar.                    a false statement that is defamatory on its face may not
19, 2002)..                                                             be defamatory when read in context, and a statement
                                                                        that is not defamatory on its face may, in fact, be
Molitor argues that he presented genuine issues of
                                                                        defamatory when read in context." Schlieman, 637
material fact concerning whether Saji made false
                                                                        N. W.2d at 3D4.
statements to the physician and whether they carried a
defamatory         meaning.     He     also    alleges   thaf     the   NN4[?] Whether a statement is capable of conveying a
statements tended to harm his reputation in the                         defamatory [*7] meaning presents a question of taw,
community. In its order granting summary judgment, the                  which we review de novo. Id. at .~(7T. If words are
district court stated that the record referenced only Saji's            capable of a defamatory meaning, a jury then must
direct observations about the child's symptoms and that                 decide whether they were actually defamatory. LeLlaux
Molitor      had    presented     no     evidence    that       these   v, Northwest Publrshrng, 521 N. W.Zd 59, 88 (Mi~~~~. App.
statements were false. Molitor argues, however, that                    X9941, reviewdenred{Minn. Nov. 16, 1994).
Saji's    statements     to     the    physician,    taken      bo#h
                                                                        We conclude that, taken in context, as reflected in the
individually and in context, falsely accused ['"6] him of
                                                                        medical record created at the emergency-room visit,
sexual misconduct. We examine the substance of Saji's
                                                                        Saji made statements that are capable of a defamatory
statements to reuiew whether they present material
                                                                        meaning. The medical record begins with the phrase
issues of fact regarding a defamatory meaning and truth
                                                                        that the child "presents with mother due to concerns of
or falsity. We then address whether a qualified privilege
                                                                        sexual abuse." It states that Saji reported that Molitor
applies to those statements.
                                                                        had "lightly hit [the child] on the nose 'like a dog"'; had
                                                                        "kept her for the last 4 nights" when she was only
1. The complaint sufficrent/y alleges factua/statements                 supposed to stay for one night; and had returned her
that, taken in context, raise genuine fssues ofmater~al                 "unkempt." Saji stated that once at home, the child was
fact as to whether they carry a defamatory meaning and                  "more clingy than usual", had a "dark and tarry" bowel
are fa/se.                                                              movement, and kept "pulling at her backside." The
                                                                        physician ends the medical record by noting that "[Sajij
HN~t] To ba actionable in defamation, the defendant's
                                                                        was concerned that the patient may have been abused
statements must be false statements of fact that are
                                                                        in some way."
capable of conveying a defamatory meaning. Jadwin v.
Minneapaiis Stir & Tribune Co., 390 N. W.2d 437. 441                    Collectively and in context, Saji's detailed statements #o
~Mrnn. Ann,,. X986). Whether a statement is defamatory                  the physician about the child's unusual behavior and
depends on how ordinary people would interpret its                      condition immediately after returning from Molitor's
                 CASE 0:21-cv-01267-SRN-TNL Doc. 59 Filed 11/05/21 Page 54 of 57
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home could reasonably convey the implication that                     do not carry a defamatory meaning because they are
he [*8] may have abused the child during her stay with                "pine opinion," which is protected from defamation
him. Saji argues that she never directly accused Molitor              claims by the Frrst Anrer7drrrent. McKee v. Laurian, 825
of sexually abusing the chi►d. But the medical record                 N. W.Zd 725, 73~rrrn. 217        . HNbjt ] Generally, only
reflects that she told the physician that Molitor had been            statements of fact that can be proven true or false are
sexually abusive of her during the parties' marriage and              actionable as defamatory. Lund v, Chicago_ & Nw.
that she brought the child in "due to concerns of sexual              Tiansp. Go., 467 N. W.2d 366, 369 (Minn. App. 1991),
abuse" after a stay with Molitor. Therefore, a jury                   review denied {Minn. June 19, 1991). If a statement
question exists as to whether ₹hese statements actually               cannot be reasonably interpreted as stating facts and
conveyed a defamatory meansng, and the district cour#                 cannot be graven true or false, it qualifies as a
erred by concluding that Molitor failed to present the                statement of pure opinion. Thus, calling someone a "real
existence of a genuine issue of material fact on this                 tool" amounts to a statement of opinion, which cannot
issue. ~ See Schlienlan, 637 N. W.2d at 304.                          be the basis for a defamation (*9J claim. McKee, 825
                                                                      N. W.2d at 733. in contrast, a statement that implies the
Saji further argues that her statements to the physician              existence of a certain kind of reprehensible conduct,
                                                                      such as that a person is "dishonest," is actionable in
                                                                      defamation. Weisstna~~ v. Srr Lanka Curry Houses Ir~c.,
~ We note Molitor's additional argument that the district court
                                                                      X69 N. W.2d 4T1, 473 (Minn. App. 7991). Here, because
erred by failing fo address a theory of defamation by
                                                                      Saji's statements can be reasonably interpreted as ₹o
implication, which was no# pleaded specifically in the
                                                                      convey that Molitor committed sexual abuse, they are
complaint. In 1990, the Minnesota Supreme Court articulated
                                                                      not protected expressions of opinion. See id. Thus, they
the principle that if a defendant juxtaposes facts, implying a
defamatory connection between them, or omits facts to create          may be actionable to support his claim of defamation
a defamatory implication, he may be held responsible for that         per se. Anderson, 262 N. W.2d at 372.
implication, unless it qualifies as an opinion, even though the
                                                                      We next examine the issue of falsity. HN~~] The
specific facts are correct. fJiesen v. Hessburg, x'55 N. W.2d
44&, 45U (/Minn. 1990. in Diesen, the supreme court held that         plaintiff in a defamation action must show that the
a   public-official   defamation   plaintiff could   not   base   a   allegedly defamatory statement is false. Stuempges,
defamation action an true statements that carried ai{egedly           237 N. W.2r~ at 25.5. A statement is false if it is
false implications. /d. at 451-5? This court has recognized,          substantially inaccurate; if a statement is true in
however, that "Dissen does not modify the general principle           substance, minor inaccuracies of detail or expression
that ...................
     NN~'~`j courts must interpret the defamatory-meaning
                                                                      are immaterial. McKee, 825 IV.W.2d at 730. As a
element of a defamation ackion in light of the context
                                                                      general rule, in a defamation action, the truth or falsity of
surrounding the alleged defamatory statements." SchliemaiJ,
                                                                      a statement presents a question for the jury to resalve.
63T N. W.2d of 304. Although Saji argues that defamation by
                                                                      Id.
implication is a separate cause of action, which must be
particularly alleged, we agree with Molitor that defamation by
                                                                      The district court determined that Saji's statements,
implication is a theory, which need not be specifically pleaded.
                                                                      taken individually, were true and that the record did not
And we note that, even if we were to address a theory of
                                                                      present a material factual issue on the issue of truth or
defamation by implication, based on our contextual analysis of
the allegedly defamatory statements, we would reach the               falsity. But rn an affidavit, Molitor challenged the

same result. See id.                                                  substantial truth of Saji's statements, alleging that she
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made false accusations to further her attempt to gain          defeated on the ground that the defendant is entitled to
custody of the child. He alleged j*10] that the week           a qualified privilege for his or her remarks.2 Bc~l,. 561
before the child's emergency-room visit, Saji had told         N. W.Zd at 919. Because the district court determined
him that she would do "whatever it takes" to remove him        that no genuine issue of material fact existed on
from the child's life. He alleged, in contrast to Saji's       whether Saji's statements were defamatory, it did not
statement to the physician, that he had not kept the           reach the issue of whether a qualified privilege
child for longer than scheduled. He produced evidence          protected those statements.
showing that the day before the emergency-room visit,
he had taken the child for a scheduled 15-month well-          HN1t,~fJ The policy behind the assertion of privileges in
child visit, which showed that she was in good health.         defamation actions recognizes that the end to be gained
And he alleged that Saji had unexpectedly failed to            by   permitting     defamatory       statements     in    certain
attend that appointment, which, he believed, allowed her       circumstances outweighs the harm that may be done to
to fabricate a reason to take the child to the emergency       another's reputation. Zutz v. Nelson, 788 N. W.2d 58, 61-
room the next day.                                             62 (Minn. 2070). A qualified privilege applies when a
                                                               court determines that statements made in certain
HNt.~1`] At this summary-judgment stage, we must
                                                               contexts should be encouraged, [*12] despite a risk that
review the evidence in the light most favorable to
                                                               the statements might be defamatory. Bot, 569 N. W.Zd at
Molitor, the party against whom summary judgment was           949. To be protected by a qualified privilege, the
granted. Fabio 5D4 N. W.2d at 761. Taken as a whale            statement must be "made upon a proper occasion, from
and in context, Saji's statements were capable of
                                                               a proper motive, and must be based upon reasonable or
conveying the defamatory meaning that Molitor had              probable cause." Stuerr~pges, 297 N.W.2d a1 256-57
sexually abused the child. Molitor's affidavit disputes this   (quotation omitted). Thus, appellate courts have held
general allegation, as well as several other- statements       that a qua{ified privilege applied to reports of child abuse
in the medical report, such as the status of the child's       made to a psychologist, Bal, 569 N.W.2d at 145, and to
health based on the well-child visit on the previous day.
                                                               a physician's notations regarding concerns of child
We therefore disagree with the district court and              abuse by a parent. Strauss v. Thorne, 490 N. W.2d 908,
conclude that [*11] Molitor has presented a genuine            979-~2 (Minn. App. ?992), review denied (Minn. Dec.
issue of material fact as to the truth or falsity of Saji's
                                                               15, 1992). Whether a qualified privilege applies presents
statements to the emergency-room physician.
                                                               a question of law for the court. Bol, 56~ N. W.2d at ?49.

                                                               Here, the parties dispute whether the s#atements were
/l. Issues of ufiethe~ a qualified privilege protects Sajis
statements to the physician, and whether actual ma/ice
defeats fha~ privilege, are properly addressed by the          2 Courts also recognize a defense of absolute privilege, which

district curt.                                                 applies only in limited circumstances, such as to statements of
                                                               government officials in certain contexts. ~'utz v. Nelson, 788
Our examination of the elements of defamation does             N.W.2d 58, 62 (A4inn, 200). Absolute privilege grants

not, however, end the inquiry. HN5[ ] Even if a plaintiff      immunity even for intentionally false statements coupled with
                                                               malice, while quali#led privilege applies only if the privilege is
has sufficiently alleged material factual issues an the
                                                               not abused and defamatory statements are published in good
elements of defamation, a defamation action may be
                                                               faith and without malice. /d.
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made "upon a proper occasion, [and] from a proper                     question remains on actual malice. In its review, the
motive." Stuempges, 297 N, Lt!2d al 25~-57. Because                   district court may wish to reopen the record to receive
the district court did not rule on the issue of privilege, it         additional evidence, such as information from the
is appropriate to remand this matter to the district court            parties' dissolution, and other material, at the court's
for an examination of whether a qualified privilege                   discretion.
applies to Saji's remarks. See Bo/, 569 N.W.2d at 1~'9,
                                                                      Reversed and remanded.
see a/so Taylor v LSI Corp. of Arrr., 796 N. W.2d 153,
>57(Mrnn. 20~1> (HN~~] remanding for district court
to address additional issue when district court erred by                End trf Oz7cument
granting summary judgment an different ground).

We further note that, even if the district court determines
as a matter of law that a qualified privilege exists, it
must then address whether there is any issue [*13] of
fact regarding whether the statements were published
with actual malice, which will defeat the privilege. See
Strauss, 49D N. W.2d at 912. NN1,~?] Minnesota
common law defines actual malice as made from il! will
and improper motives, or causelessly and wantonly for
the purpose of injuring the plaintifif. Frankson v. I)esr,Qn
Space Int`I, 394 N. W.2d 94t7,            744 (Minn. ~1          .3
Whether a qualified privilege has been defeated through
abuse, meaning that the defendant has acted wi#h
actual malice, generally presents a question of fact for
the jury, but it may be determined at summary judgment
if the record is insufficient to create a material factual
issue. /d.; see Bol, 561 N. W.2d at 143.

~/Ve therefore remand to the disfrict court far further
proceedings to address the issue of a qualified privilege
and, if a privilege is determined to exist, whether a jury



3 Common     law    malice   differs   from    the   standard    of
constitutional malice applicable to public-figure plaintiffs, which
requires proof that the defendant published the statements
with knowledge that they were false or with reckless disregard
for their truth or falsity. Jadwin v. Minneapolis Star & Tribune
Ca., 867 N. W.<d 476, 489 n.5 ("Mrnrz 1385) (citing New York
Times Co, v. Sc~/livan, 376 U. S. 254, 2T9-80, 84 S. Ct. 710,
726, 11 L. Ed 2d 686 (~964)J.
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                              CERTIFICATE OF SERVICE

       I hereby certify that on November 5, 2021 a true and correct copy of the foregoing was

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